Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 1 of 47




              EXHIBIT A




              EXHIBIT A
                         Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 2 of 47



                                           SUMI,|ONS
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                               Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 3 of 47
         ATTORNEY OR PARTY WTHOUT
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                                   (State Bar No. 288121)  I Baker & McKenzle LLp                                                               Fon   cotnt usi   0NLY
                                   Center, 11th Floor, San Francisco, CA %111
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                                       christina.wong@bakermckenzie.com                                                                                  FILED
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             PERIOR COURT OF CALIFORNIA, COUNIY
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                                 c CA 94063
         BRANoH MME: Southern
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     CASE NAME:
      JANE DOE v. DANTEL L. PETERSON, M.D.

               ctvtL cAsE COVER SHEET
                                                                           Go mplex Case Designation                      CAEE NUMBER:
                Unlimited                        Limited                                                                                     22-CtV-01779
                (Amount                          (Amouht
                                                                         l---l   Counter                 Joinder
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                exceeds $25,000)                 $25,000 or
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     1     Check one box below for the case type
                                                 that best describes this case:
          Auto Tort
                                                      Contract
          l--l     Ruto 1zz1
                                                                    D       Breach ol conlractArvarranty (06)
                                                                                                                    Provisionally Complex Civll Litlgatlon
                                                                                                                    (cal , Rules of Court, rules 3./t0F3.403)
         f-l       Uninsured motorist (46)
          Other PI/PD/WD (personal InJury/propefty                 f_l      Rule 3.740 collections (09)
                                                                            Other colleciions (09)
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          Damage/VUron gful Death) Tort
                   Asbestos (04)                                   [--l     lnsurance coverage (18)                 f*l      Mass tort (40)

                   Producl liability (24)                          l]-l     other conrract (37)                              Sqcurilies litigation (ZB)
         l-_l      tr,teOical malpractice (4S)                     Real Property                                          Environmental/Toxic torl (30)

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         Non-Pl/PD/Ut D (Other) Tort                                                                                     types (41)
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         D       Wongful termination (36)                                  Writ of mandate (02)
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 2,  This case
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                                                                   t:]     Other judicial revlew (39)
                                     is not  complex under rule 3.400 of the California Rules
     faclors requiring exceptional judicial management:                                         of Court. lf the case is complex, mark the
    a.        Large number of separately represented parlies
                                                                     d.       Large number of witnesses
    b.        Extensive moilon practice raising difflcult or novel
                                                                    e.        Coordination with related actions pending in one or
              issues that will be lime-consuming to resolve                                                                           more
                                                                              courts in other counties, states, oi counties,
    c,        Substantial amount of documentary evldence                                                                      or in a federal
                                                                              court
                                                                    f.
3. Remedies sought (check all that apply):a.            monetary b.
                                                                              Substantial posgudgment judicial supervision
                                                                          nonmonetary; declaratory or infunctive relief c.
4,   Number of causes of ac{ion (sPecify):
                                            Seven (7): fraud, breach of conlract, conversion, etc.
                                                                                                                                     punitive
5. This case           bl--l        is            not
                                             a class action suit,
6. lf there are any known related cases, fire and serve a notice of rerated ease. (you
Date: fip1il2g,ZOZ2                                                                      may use form cM-015.)
Christina M.
                                (TYPE OR PRINT


      P lainliff must file this cover sheet with the
                                                     first paper filed ln the ac'tion or proceeding (except
     under the Probate Code, Family Code, or Welfare                                                        small cla tms cases or caEes liled
                                                               and lnstitutlons Code). (Cal. Rules of Court, rule
     in sanctions,                                                                                                 3.220.) Failure to file may result
     File this cover sheet in add ition to any cover
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     lf this case ts complex under rule g.4OO et seq. of the
                                                                  Callfornia Rules of Court, you must serve copy of
     other parties to the action or proceeding.                                                                           this cover sheet on all
 a   Unless this is a collections cdse under irle g.Z+O
                                                             or a complex case, this cover sheet will be used
                                                                                                                 for statistical purposes                            only.
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                                                                   CIVIL CASE COVER SHEET                                  CaL Rules o{ Coull, ruls 2.30, 3.220, 3.40&3.403. 3.740:
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                            Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 4 of 47

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       ffil"*                                                     Colleclions (e.g,, ironey owed, open                          cdse Upe tisled above) (41)
          Asbestos (04)                                               book accounls) (09)                            Enforcemenl of Judgmenl
            Asbestos property Damage                                  Collec{ion Case-Seller plalntiff                 Enforcemenl of Judgment (20)
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                   Wrongful Dealh                                          Case                                                 County)
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             tox i c/e nv Iron m e n la 0 e4)                         comptex) (18)                                          domestic relations)
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            Practice (07)                                       Commercial (3.1)                                           Other Civil Complainl
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         Fraud (16)                                            Asset Forlelture (05)                                      above) (43)
        lntellecluel property (i 9)                            Petition Re: Arbitration Award (11)                        Civil Harassmenl
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        Wrongful Term inalion (36)                             Other Judicial Revlaw (89)                                     Claim
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                   Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 5 of 47


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                                                  CivllDivision
                          400 County Center, 1$ Floor, Room A
                                                (6s0) 25l-s100
                                                                Redwood City, CA 94063
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                                           www.sanmateocourt_org                             SAN MATEO COUNry
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             NT/or FENDANT: DAN EL t. PETERSON, M.D,
    R ESPO N D E
                                                        tTD.           SIER RA                    /s/Anthony Berini
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              N OTICE OF ASSIG NMENT FOR
                                         A LL PU R POSES          tctv[l AND             CASE NUMBER:
                    NOTICE OF cAs E MANAGEMENT           coN F ERENCE                      22-CtV-0t779
    By order of the presiding Judge pu rsuant to san Mateo
                                                            county superior court Local Rule 3.200(a) the
    matter is assigned for all purposes to: Judge                                                         above entitled
                                                  V. Rayrnond Swope in Department 23,

                   An lnitial case Management conference is
                                                              set before the civil commissioner
                                   (and not with the assigned Judge),
                                                                      as fottows:
                                                     DATEIBl29lz0z2
                                                      T|ME:9:00AM
                           LOCATTON:900 North Humbordt street,
                                                               san Mateo, cA grt401

 REMOTE APPEARANCES ARE STRON
                              GLy ENCOURAGED. prease visit our website
 appearances and use the ,,Civil Com missione/'                                     for information on remote
                                                Credenflals:



 ASSIGNED DEPARTM ENT INFORMATION

To schedule a Law and Motion Hearing, please
                                             see Local Rule 3.402, or visit the assigned Judicial
at: Www.sanmateocourt.orelciviliudses.                                                            officer,s webpage

contact information for your assigned department
                                                      ls as foilows:

       Judicial Officer                   Department phone                 Department E-mail
       V. Raymond Swope                  650-261-5123                      Dept23 @sa nmateoco urt.org



CASE MANAGEM ENT, CONFERENCE
                                      INFORMATION
You are hereby given notice of your lnitial
                                            case Management conference, The date, time
above,
                                                                                       and department are noted

1




                                                                                                     Rev. November 2020
                     Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 6 of 47

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                                               Rule 3.80s(c)). Failure to do so
                                                                                may resurt in monetary sanctions or
                                                                                                                    the
           d) Meet and confer' in person or by telephone,
                                                            to consider each of the issues identified
              than 30 days before the date t"i for.                                                   in c(c3.724no later
                                                    the case rtrrnrgur.ni conferuncu (Local
                                                                                              Rule 3.80s(b)),
     2'   Parties may proceed to an Appropriate
                                                 Dispute Resolution process (,?DR,)
          ADR (Local Form ADR'CV-1)' File                                            by filing a stiputotion ond order
                                          and serve the complet                                                         to
          prior to the case Management                             iiiirLtnn   ond  orderto-non     form at least 12 days
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          regarding the Civil ADR program
                                           online .a lbTJ nrh s.soi6).'ro, rry find this form and information

  For additionar information, you may
                                      visit the Judiciar officer,s webpage
                                                                           at: www.sa nmateocourt.orelciviliudees




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Date: 4/28/2O22
                                                              Neal lTaniguchi, Court Executive Officer/Clerk
                                                         By: /s/           Berini
                                                               Anthony Berlni, Deputy Clerk
Notice being served on:

     BARRYJ THOMPSON
     BAKER & MCKENIZE LtP
     10250 CONSTELLATION BOULEVARD
     SU|TE 1850
     LOs ANGELES CA 90067




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                      Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 7 of 47

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                   10250 Constellation Blvd,, Suite
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                   Los Angeles, CA 90067
          4        Telephone: 3lOZ0l 472g
                   Facsimile:    il}   Z0l   4721
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                   Christina M. Wong, Stare Bar No. 2ggl
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                   _T!:r.$a!i{p@bakermck              .com
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                  Two Embarcadero Center, I lth Floor
      9           SanFrancisco, CA g4lll
                  Telephone: 415 576 3000
     t0           Facsimile: 4tS 576 30gg
     ll           Attorneys for plaintiff
     t2           JANE DOE

     l3                                SUPERIOR COURT OT'THE STATE
                                                                   OF'CALIF'ORNIA
 t4
                                                    F'OR THE COUNTY OF SAN MATEO
 l5
 16               JANE DOE,                                                          22-CtV-01779
                                                                      Case   No
 17
                                  Plaintiff                          COMPLAINT X'OR:
 l8
                         v
                                                                     l)   FRAUD;
 19
                  DANIEL L. PETERSON, M.D.;                          2) BREACH OF CONTRACT;
20                SIERRA INTERNAL MEDICINE;                          3) CONVERSTON;
                  DANIEL L. PETERSON, M.D., Ti'O.;                   4) CIVIL PENALTTES FOR RECEIPT
2t                SIMIVIARON RESEARCH; and                                OF STOLEN PROPERTY
                  DOES I through 50, inclusive,                           (PENAL coDE g ae6(c));
22                                                                   s)   RESTTTUTTON/QUAST:'
                                 Defendants.                              CONTRACT OR UNruST
23
                                                                          ENRICHMENT;
24
                                                                     6)   INTENTIONAL INFLICTION OF
                                                                          EMOTIONAL DISTRESS;
25                                                                   7)   VToLATTON OF CAL. sfarrH cc
                                                                          SAFETY CODE $$ t23 t20 et seq,
26
                                                                    DEMAITD T'OR JURY TRIAL
27

28
                  Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 8 of 47




          I
                                                             INTRODUCTION
          2                I'   This case involves a renowned and supposedly
                                                                                     trustworthy physician who abused
          3      his position as a doctor and scientist
                                                         in a population of very sick patients.
                                                                                                   He sold his patients out
          4      ptuely for financial garn, holding
                                                     himself out as someone who could provide
                                                                                                      a vital experimental
          5      medicine to Jane Doe and other vulnerable
                                                                 patients like her and thereby restore
                                                                                                         their health.
          6     Remarkably' the doctor did all of this in
                                                             the context of a clinical frial study, purportedly
                                                                                                                    conducted
      7         under FDA auspices' He, directly
                                                     and/or through his alter-ego companies,
                                                                                                   repeatedly and
      8         seriously violated the study protocol,
                                                         did not inform Jane Doe of a serious
                                                                                                  drug shortage in
      9         violation of his obligations as principal investigator,
                                                                           lied about the bottle price of the experimental
     l0         medication to enrich himself and conceal
                                                              the fact that he was attempting to commit
                                                                                                             illegal balance
     ll         billing of Medicare patients,lied about his
                                                               ability to procure an entire year of the drug providing
     12        him the use of tens ofthousands of dollars
                                                               of his patients' money interest-free and ultimately
     13        allowing him to steal the money' lied about
                                                                the fact that only a small fraction of
                                                                                                        the purchased
 14            drug had been shipped, Iied about his
                                                        commitment to refund the money and
                                                                                                   hold it in a special
 t5            escrow account' and secretly withdrew
                                                          Jane Doe from the study in an ef,fort
                                                                                                   to prevent her from
 l6           obtaining a refund' The doctor has engaged
                                                                in this outrageous conduct with impunity
                                                                                                                because he
 l7           held the ultimate trump card-the ability
                                                            to, unilaterally for no reason, remove patients
                                                                                                                 from the
 l8           trial (thus denying them access to the life-altering
                                                                      drug). In some cases, as with Jane Doe, he
                                                                                                                        also
 19           had additional leverage over his patients:
                                                            the control of paperwork to support Jane
                                                                                                          Doe,s ongoing
20            disability entitlements as well as access to
                                                             other medications that would be exhemely
                                                                                                              difficult to
2t            obtain from other physicians.

22                    2'    But' after much time, the scam was exposed,
                                                                        and it was the age-old story of a self-
23            serving doctor misleading his patients
                                                     solely to make      himserf and his alter-ego companies as
                                                                                                                much
24            money as possible' unfortunately, his actions,
                                                               and those of his alter-ego companies,
                                                                                                     have caused
25            tremendous financial, ernotional, physical,
                                                          and other losses and suffering. This
                                                                                               action is brought
26            by Jane Doe to recover monetary damages
                                                          and to right some of the many wrongs
                                                                                                 he and they
27            committed

28

                                                                   2
                   Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 9 of 47




                               3'
                             Plaintiff Jane Doe ('?laintiff'or
                                                               "Jane Doe') hereby brings this complaint
                                                                                                                    against
          2      Defendants Daniel L. Peterson, M.D. ("Dr. peterson,);
                                                                       sierra           Intemal Medicine, Daniel L.
          J      Peterson,      M'D., LTD. ("sierra Intemar Medicine,,);
                                                                         simmaron Research Inc. (.,simmaron,);
                                                                                                                        and
          4      DoEs I through 50, incrusive (individualry,,Defendant,,
                                                                                   and co'ectivery,.Defendants,,)
                                                                                                                  as
         5       follows.

      6
                                                                   PARTIES
      7                    A.         Plaintiff Jane Doe
      8                    4'  PlainliffJane Doe is an individual residing
                                                                           in Menlo park, california, Jane Doe
      9         brings this suit under a pseudonym in
                                                       order to protect her identity and privacy
                                                                                                  from disclosure as a
     l0         healthcare patient and due to the intimate
                                                           nature of the subject maffer of this
                                                                                                dispute.
     u                 B. The Defendants
     12                    5' Defendant Daniel L' Peterson, M.D. is
                                                                       an individual ricensed to practice medicine
                                                                                                                      in
 13            both califomia and Nevada, residing
                                                      atT4gTyner way,Incrine village, Nevada.
                                                                                                      Dr. peterson is
 l4            employed by Defendant siena Internal
                                                       Medicine, Daniel L. peterson, M.D.,
                                                                                               Ltd. as its president.
 l5                    6' Defendant siena Intemal Medicine, Daniel L. peterson,
                                                                                         M.D., Ltd. is registered as a
 16            professional corporation organized
                                                   and existing under the laws ofNevada
                                                                                            with its principal place
 17            of business in Incline village, Nevada.
                                                       Dr. Peterson serves as its president, secretary,
                                                                                                          Treasurer,
 18            Director, and, upon information and
                                                    belie{ is its sole shareholder.
 l9                    7   ' Defendant simmaron is registered as
                                                                 a nonprofit corporation organized
                                                                                                    and existing
20             under the laws of Nevada that was
                                                 founded by Dr. peterson. Dr, peterson
                                                                                        is also a member of
21             Simmaron's Scientific Advisory Board.

22                    8'            The true names and capacities of   DoEs I tlrough 50, inclusive,   whether corporate,
23            individual or otherwise' are presently unknown
                                                               to Jane Doe, who therefore sues DOES
                                                                                                      1 through
24            50 by such fictitious names' and will
                                                    ask leave to amend her complaint to
                                                                                        show their true names
25            and capacities when ascertained.

26                   C.         AlterEgo
27                   9.         At dl relevant times,   as alleged more
                                                                   fully herein, each Defendant acted as an agent,
28            employee, co-conspirator, and/or alter
                                                     ego of the other Defendants, and in
                                                                                          doing the things alleged
                                                                       3
                  Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 10 of 47




                  herein, acted within the course and
                                                      scope of such agency, emproyment,
                                                                                          conspiracy, arter ego
          )      and/or in furtherance of one another.
                                                        Each of the Defendant's acts alleged
                                                                                             herein was done with
          3      the permission, knowledge, and
                                                   consent of the other Defendants.
          4                 10'Defendants sierra Intemal Medicine
                                                                      and simmaron were the alter egos
                                                                                                         cf.Defendant
          5      Dr' Peterson and, at all relevant times,
                                                          there has been a unity of interest and
                                                                                                 ownership between
          6      Defendants such that any separateness
                                                          between them ceased to exist. Dr. peterson
                                                                                                        owned,
          7     conholled' dominated, managed, and
                                                       operated the other Defendants to
                                                                                        suit his convenience and
      8         without regard for corporate formalities.

      9                 I   1' Dr' Peterson conholled the business affairs
                                                                              of siena Internal Medicine and
     l0          simmaron and manipulated the assets and
                                                             liabilities ofthe entities. Dr, peterson commingled
                                                                                                                  the
     l1         funds and assets of the corporate entities
                                                           and diverted corporate funds and assets
                                                                                                      for his'own
     t2         personal use' He further disregarded
                                                       legal formalities and failed to maintain
                                                                                                  an arm,s length
     13         relationship with the entities. Additionally,
                                                               he used many of the
                                                                                same ofgrces, business locations,
 l4            and employees for his medical practice
                                                      and for these entities. Dr. peterson
                                                                                           used siena Internal
 l5            Medicine and simmaron as mere shells
                                                         or instrumentalities for himself and his
                                                                                                   individual
 16            business' Dr' Peterson used the corporate
                                                           entities to concear their ownership, management,
                                                                                                                and
 t7            financial interests and to shield himself
                                                         against personal obligations, including
                                                                                                  the obligations
 l8            alleged herein.

 l9                   D.         Agency, Aiding and Abetting, and Conspiracy
20                     12. Defendants,      and each of them, were acting as the agents,
                                                                                         emproyees, and/or
2t            representatives of each other and.were
                                                      acting within the course and scope of their
                                                                                                   agency and
22            employment with the full knowledge,
                                                     consent, permission, authorization,
                                                                                         and ratification, either
23            express or implied' of each of the
                                                 other Defendants in performing the acts
                                                                                         alleged in this herein.
24                    13'   Defendants knowingly and wrongfirlly
                                                                    conspired with one another with respect
                                                                                                                 to
25            the conduct alleged herein' Defendants'
                                                      urongful acts in furtherance ofthe conspiracy
                                                                                                    included
26            fraudulently inducing Jane Doe to pay
                                                      Defendants money as well as the additional
                                                                                                 wrongful acts
27            set forth herein' As a result of Defendants'
                                                           conspiring with one another, Jane Doe
                                                                                                 has been
28            harmed in an amount to be proven at
                                                    hial.
                                                                4
                  Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 11 of 47




                            14'   Defendants aided and abetted each other
                                                                          with respect to the wrongful conduct
          2      alleged herein' including fraudulently
                                                         inducing Jane Doe to pay Defendants
                                                                                                money. As a result of
          J      Defendants' aiding and abetting
                                                   one another, Jane Doe has been
                                                                                   harmed in an amount to be
          4      proven at trial.

          5                 15'Defendants are individually sued as principals,
                                                                                participants, aiders and abettors, and
          6      co-conspirators in the wrongful conduct
                                                           complained o4 and the liability of
                                                                                               each arises from the
          7     fact that each has engaged in all or part
                                                          of the improper acts, plans, schemes,
                                                                                                 conspiracies, or
      8         transactions complained of herein.

      9

     10                 16'    This court has personal jurisdiction
                                                                      over Dr. peterson pursuant to califomia
                                                                                                               code
     il         of civil Procedure $ 410'10' Dr. Peterson's
                                                               breaches of conhact and his tortious
                                                                                                     and other
     l2         unlawful activities described in this complaint
                                                                  were directed at Jane Doe, a californiaresiden!
     I3         and the harm he caused was suffered
                                                       in california. Further, Dr. peterson
                                                                                             maintains an active
 l4            medical license from the Medical Board
                                                           of california and fteated Jane Doe on
                                                                                                   multiple occasions
 l5            in california' both remotely (via phone
                                                         and email) and in person at her home
                                                                                                 in Menlo park, cA.
 t6            Jane Doe also received bi-weekly
                                                   infusions prescribed by Dr. peterson
                                                                                          at her home in Menlo park,
 t7            CA until March 2020.

 18                    t7   '   This court has personal jurisdiction
                                                                       over sierra Intemal Medicine because,
                                                                                                                through
 l9             its agents (including but not limited
                                                      to Dr. Peterson), it participated in the
                                                                                               contactual breaches and
 20             tortious and unlawful activities directed
                                                           at a california resident described
                                                                                               herein. Further, siena
21              Intemal Medicine provided healthcare
                                                         to Jane Doe, a california resident, remotely
                                                                                                        (viaphone and
22              email) and in person at her home in Menlo
                                                              Park, cA. Jane Doe arso received
                                                                                                  bi-weekly infirsions
23             prescribed by Dr' Peterson at her
                                                   home in Menlo Park, cA until March
                                                                                            2020. This was done in
24             the course of his business as a siena
                                                      Internal Medicine emproyee. Additionally
                                                                                                     sierra Internal
25            Medicine is owned, controlled, dominatedn
                                                              managed, and operated by Dr. peterson,
                                                                                                        a california
26            licensed doctor.

27                   18.    This court has personar jurisdiction over
                                                                      simmaron because, through its agents
28            (including but not limited to Dr. Peterson),
                                                           Simmaron participated in the contractual
                                                                                                    breaches and
                                                                 5
                      Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 12 of 47




              I       tortious and unlawful activities directed
                                                                at a california resident described
                                                                                                   herein. These tortious
          2          activities' including making numerous
                                                              false statements to Jane Doe in violation
                                                                                                        of the duty of care
          3          that simmaron owed to her, resulted
                                                            in cxtreme emotional and physical
                                                                                                 disbess. Additionally
          4          simmaron was founded by and is dominated
                                                                     and controlled by Dr. peterson, a
                                                                                                       california licensed
          5          doctor

          6                  19' Venue is proper in san Mateo county because a substantial
                                                                                              part of harm and injury
          7         suffered because of Defendants' confractual
                                                                breaches and tortious and unlaqrful
                                                                                                    actions occuned
      8             in this county' where Jane Doe resides.
                                                            Additionally, a portion of Jane Doe,s
                                                                                                   healthcare provided
      9             by Defendants was delivered in san
                                                        Mateo county. venue is arso proper
                                                                                             in san Mateo county
     l0             under code of civil Procedure 395(a)
                                                  $        because Defendants        do not reside in california.
     ll                                                 GEFTERAL       ALLEGATIONS
     t2                    E'     Jane Doe is Diagnosed with Myargic
                                                                     Encepharomyeritis
     l3                    20'    Plaintiff   Jane Doe was a   highly successful intemational business
                                                                                                       attorney when her
 l4                career was taken from her by a
                                                  disease that rendered her unabre
                                                                                   to function in her     job. In 2006,
 l5                she was diagnosed   with chronic Fatigue syndrome (*cFS,,),
                                                                                     a serious, cruonic, comprex, and
 l6                systemic disease that frequently and
                                                        dramatically limits the activities of affected
                                                                                                       patients. she has
 t7                been disabled ever since.

 l8                        21. CFS, often refened to as Myalgic Encephalomyelitis (..I\{E,)
                                                                                                 or ME/CFS, is
 19                characterized by a significant decrease
                                                            in firnction and debilitating symptoms
                                                                                                    both of which
20                 severely limit Jane Doe's ability to carry
                                                              on even routine day-to-day activities
                                                                                                      and which are
2t                aggravated by any activity, whether physical,
                                                                cognitive, or emotional. There is no cure
                                                                                                          or FDA-
22                approved treatment for ME, and the
                                                      cDC estimates that up to 2.smillion Americans
                                                                                                       suffer from
23                the disease.

24                        22'   Jane Doe suffers from a moderate-to-severe
                                                                           case of ME, which is an extremely
25                poorly understood disease both by
                                                    most medical professionals and by virnrally
                                                                                                all of the public.
26                This pervasive misunderstanding leads'to
                                                              ignorance of the effects of the disease,
                                                                                                       both in terms of
27                its severity and its persistence. Because
                                                            ME is routinely and drastically minimized,
                                                                                                          many patients
28                experience denial or medical neglect
                                                         while they simultaneously suffer devastating
                                                                                                        losses of
                                                                      6
                  Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 13 of 47




                 careers' social relationships, and personal
                                                             autonomy due to their inability to
                                                                                                function reliably.
          2      Because of this' some background
                                                     and explanation of the disease and
                                                                                         the particular ways it affects
          3      Jane Doe are relevant to understand
                                                       the Defendants' actions and their impact
                                                                                                 on Jane Doe.
          4              23'   The Myalgic Encephalomyelitis International
                                                                            consensus criteria (*MEIcc,,)
          5      published by experts who collectively
                                                       had approximately 400 years of clinical
                                                                                               and teaching
          6      experience' authored hundreds ofpeer-reviewed
                                                                publications, and diagnosed or heated
      7         approximately 50,000 patients with ME.
                                                         As described by the MEIcc, the symptoms
                                                                                                      produced by
      8         this acquired multi-system disease are
                                                       numerous and reflect dysregulation of
                                                                                             the affected systems.
      9          According to the MEIcc, ME patients
                                                           suffer from "marked, rapid physical and/or
                                                                                                         cognitive
     l0          fatigability" (which is to be distinguished
                                                              from fatigue) "in response to exertion,
                                                                                                       which may be
     ll         minimal such as activities of daily living
                                                             or simple mental tasks,, as well as from
                                                                                                       a,,low threshold
     t2         ofphysical and mental fatigability (lack of
                                                               stamina) result[ing] in a substantial reduction
                                                                                                               in pre-
 l3             illness activity level"' In addition, ME patients
                                                                    experience exfteme and unrelenting exhaustion;
 14             "neurological impairments" leading to cognitive
                                                                     difficulties        ,.difficulty
                                                                                   such as               processing
 I5            information," especiaily under time pressure,
                                                               caused by ,,slowed thought and impaired
 l6            concenfration" ("e'g', confusion, disorientation,
                                                                 cognitive overload, difficulty with making
 t7            decisions' slowed speech, acquired or exertional
                                                                dyslexia," poor processing speed, difficulty
                                                                                                             with
 l8            multi-tasking), "short-term memory loss,,, (,,e.g,
                                                                  difliculty remembering what one wanted to say,
 t9            what one was saying, retrieving words, recalling
                                                                  information, poor working memory,), and
20             difficulty with expressive languag e (e.g. dyslogia,
                                                                    the impaired ability to express ideas verbally).
2l             Headaches, significant pain in muscles,
                                                         muscle-tendon junctions, joints,      abdomen and chest, and
22             generalized pain are common' ME patients
                                                              furthermore suffer from sleep disturbances
                                                                                                             such as
23            "disturbed sleep pattern s" (,,e.g., insomnia, prolonged
                                                                         sleep,, typically in the acute stage, and
24            reversal of sleep cycle typically in the chronic
                                                                stage ("sleeping most ofthe day and
                                                                                                         being awake
25            most of the nighf), "frequent awakenings,
                                                            awaking much earlier than before disease
                                                                                                           onset, and
26            vivid dreams/nightmares'), and uruefreshing,
                                                           ineffective, sleep (,,e.g.,awaken feeling
                                                                                                     exhausted
27            regardless of sleep duration, day-time
                                                     sleepiness,,). Moreover, ..neurosensory
                                                                                             and perceptual,,
28            disturbances ("e'g', inability to focus vision,
                                                              sensitivity to   ligh! noise, vibration,   odor, taste and
                                                                  7
                  Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 14 of 47




          I       touch; impaired depth perception') as well
                                                               as motor disfurbances (,,e.g., muscle
                                                                                                      weakness,
      2           twitching, poor coordination, feeling unsteady
                                                                   on feet, and ataxia,, (neurological symptoms
      3          involving lack of muscle control or coordination
                                                                     of voluntary movements, such as walking or
      4          picking up objects; difficulty with balance,
                                                               walking, eating, and swallowing; gait abnormalities;
      5          tremors; slurred speech; and deterioration of
                                                                fine motor skills)) are typical. other common
      6          symptoms include flu-like symptoms such
                                                              as enlarged and tender lymph nodes,.,sore
                                                                                                          throat,
      7         sinusitis," and body aches as well as other immune
                                                                       impairments like.,susceptibility to viral
      8         infections with prolonged recovery periods."
                                                                 "Energy production/transportation impairments,, are
      9         typically present in ME patients, such   as cardiovascular   abnormalities (,,e,g., inabflity to tolerate
 l0             an upright   position-orthostatic intolerance, neurally
                                                                        mediated hlpotension,       and postural
 ll             orthostatic tachycardia syndrome" (Pors) leading
                                                                      to blood pressure and heartrate changes upon
 t2             being in an upright position, "palpitations with
                                                                  or without cardiac anhythmias, light-headedness,
 l3             dizziness") and respiratory abnormalities including ooair
                                                                           hunger, Iabored breathing, and fatigue of
 t4             chest wall muscles'" ME patients often experience
                                                                      a "loss of thermostatic stability,, (,e.g.
 15             subnormal body temperafure, marked diumal
                                                               fluctuations; sweating episodes, recurrent feelings
                                                                                                                     of
 l6            feverishness with or without low grade fever,
                                                               cold extremities,,) and..intolerance of extreme
 l7            temperatute'" Gastro'intestinal ftact abnormalities ('e.g.
                                                                            nause4 abdominal pain, bloating,
 t8            initable bowel syndrome") and genitourinary abnormalities
                                                                                ("e.g. urinary urgency or frequency,
 l9            nocfuria') are conrmon in ME patients as well as
                                                                   "sensitivities to food, medication, odors, and
20            chemicals," among other symptoms. According
                                                                  to the MEICcn there,,may be marked fluctuation
2t            of symptom severity and hierarchy from day to day
                                                                      and hour to hour.,, ME is not characte fizedby
))            fatigue but rather by the persistent expression of
                                                                  the profound and often severe, complex
23            dysregulation of multiple bodily systems, including,
                                                                      but not limited to, the immune, neurological,
24            cardiovascular, and endocrine systems; energy
                                                               metabolism, production, and transport systems;
                                                                                                                  the
25            Hypothalarnic-Pituitary-Adrenal ("HpA,') axis; and
                                                                     other systems.
26                    24'     ME patients also experience adrenaline surges
                                                                              triggered by overexertion, which
27            activates the HPA axis' Adrenaline surges allow
                                                                   an ME patient to temporarily display higher
28            firnctionality but often result in a so-called crash when
                                                                        the patient's HpA a,ris does not conectly
                                                                 8
                                                           COMPLAINT
              Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 15 of 47




             down'regulate' A hallmark symptom of ME
                                                           is called Post-Exertional Malaise (*pEM')
                                                                                                       or post-
      2      Exertional Neuro-immune Exhaustion ("PENE"):
                                                                 a marked increase (with or without
                                                                                                    delay) of
      3      symptomatic severity that causes a pathologically
                                                                long recovery time following any physical or
      4     cognitive exertion or the experience of other
                                                          stressors, emotional or otherwise. In fact,
                                                                                                      a20l1
      5     Institute of Medicine (nowNational Academy
                                                            of Medicine) expert  panel named the disease
      6     systemic Exertion Intolerance Disease in a report
                                                                  for which Dr. peterson served as an independent
      7     reviewer' PENE can exacerbate any or all of an
                                                               ME patient's symptoms as well as cause other
      8     symptoms that can further decrease the patient's
                                                               firnctional capacity formonths and even cause
      9    permanent damage' PENE can be higgered
                                                           by exertion and stressors that would barely affect
 l0        those who do not suffer from ME, making
                                                         the ups and downs of everyday life dangerous
                                                                                                         to ME
 11        patients' health' This is on top of the fact
                                                        that ME patients experience significant symptoms
                                                                                                            arrd
 t2        reductions in functionar capacity regardless
                                                          of whether they are in pENE.
 l3                25'   ME sufferers also experience exaggerated stress responses
                                                                                        as a rezult   of apparent
 l4        damage to the HPA a:ris. Therefore, acute
                                                     illness and/or   idury, surgery,   accidents, stess of any
 t5        type (including what is commonly considered
                                                        'ogood shess" such as excitement about a positive
 16       experience), and disruptions in carefully managed
                                                            daily pacing of energy expenditure (e.g,,
 17       medical appointnents involving preparation,
                                                       havel to the appoinfinent, and being upright and
 18       taking notes during the appointnent; urgent
                                                      home repairs; health or other problems conceming
 l9       other family members) can be potentiaily exacerbating
                                                                 factors.
20                26'   Notably, ME patients may be able to perform an activity
                                                                                on one day that they are
2t        unable to reproduce on following days. This has
                                                          been shown conclusively        tluough research using
22        two'day maximal cardiopulmonary exercise tests ('cpETs").
                                                                        According to cpET experts, this
23        objective test methodology ascertains maximal
                                                        effort by the patient   and therefore distinguishes
24        between indolence and true
                                   disability. Two-day cPETs measrue and evaluate
                                                                                  functional capacity
25        via peak oxygen consumption. Because ME patients'
                                                            performance on        the second day is
26        significantly and often dramatically reduced compared
                                                                to the frst day of testing and because of
27        their prolonged and sevele PENE following exercise,
                                                                 researchers have questioned the ethics      of
28

                                                           9
                  Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 16 of 47




                  submitting patients to cPETs, despite
                                                        the utility of results from two-day
                                                                                            cpETs in diagnosing the
          2      disease.

          3                 27   '
                               By definition, ME is character ized by
                                                                      systemic dysregulation resulting in
                                                                                                          both
          4      dramatic and long'term reduction in
                                                     functional capacity.    .'mild,,
                                                                                   A  case can reduce a patient,s
          5      functional capacity by approxim ately
                                                        50%. As levels of severity increase (from
                                                                                                   moderate to
          6      severe and very severe), ME patients
                                                       suffer from alarmingly reduced abilities
                                                                                                (e.g.,verysevere
      7          patients may need to be tube-fed
                                                  and unable to leave their beds).
                                                                                   At every level, physical,
      8         cognitive' and emotional exertion typically
                                                             aggravates adverse, limiting symptoms
                                                                                                      and debility.
      9         Although some individuals with ME
                                                      can and do continue working, typically
                                                                                              part-time, they do so
     l0         by making other sacrifices such as
                                                   completely eliminating other activities
                                                                                            and severely restricting
     ll         social contacts' Many suflerers ate
                                                    disabled and unable to maintain employment;
                                                                                                    some require
     t2         consistent supportive care.

     l3                28'    In mild cases of ME, symptom exacerbation
                                                                            could be triggered by even small tasks,
 l4            such as taking a walk or vacuuming
                                                     the house. An ME patient with a
                                                                                        moderate case is mostly
 l5            housebound' and a brief trip to a loud,
                                                        bright environment such as a store or restaurant
                                                                                                         by such a
 l6            patient could require days to weeks
                                                    of rest to recover. A severe sufferer
                                                                                          would be mostly
 t7            bedbound' rarely able to leave home
                                                     for anything but medical appointnents
                                                                                             and, even at hbme,
 l8            any activity sustained for more than
                                                    a brief interval could result in exacerbation.
                                                                                                   very severe
 t9            patients are entirely bedridden, and
                                                    simply having the lights tumed on or
                                                                                         being bathed or moved
20             from one bed to another could be catastophic
                                                              for them.
2t                    29'            ME patients typically become aware of their
                                                                                 so-called,,baseline,,
                                                                                                  as a state that
22            defines their level of ability and around
                                                        which there is slight variability. The less
                                                                                                    severe the ME,
23            the more success the patient might
                                                   have in exceeding limits for a short time,
                                                                                              but they will likely
24            nevertheless suffer physical repercussions
                                                          in the form of increased symptom severity
                                                                                                        or negative
25            baseline shifts that could last weeks,
                                                     months, or years. Any exertion beyond
                                                                                              the patient,s baseline
26            can trigger PENE.

27                   30'   While some patients experience temporary
                                                                        remission of ME, research has shown
28            that most who consider themselves,,recovered,,
                                                             still lead lives that are significantly resfricted
                                                             l0
                  Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 17 of 47




          I       comparcd to their pre-disease state;
                                                       those patients    tpically   have merely adjusted to their new
          2      baseline as opposed to being tmly recovered.
                                                              Recovery after five ycars of suffering
                                                                                                     from ME is
          3      exceedingly rare.

          4              3l'   Quality-of-life research shows that ME patients have poorer
                                                                                             qualrty of life than
          5      people with other chronic illnesses,
                                                      at times approaching that ofpatients
                                                                                           undergoing
      6         chemotherapy or patients with end-stage
                                                         renal failure or late-stage AIDS, According
                                                                                                        to Dr.
      7         Peterson' ME "is one of the most
                                                 disabling diseases that
                                                                          [he] cares for, far exceeding HIV         disease
      8         except for the terrninal stages." ME produces
                                                                a substantiar level of disability in
                                                                                                     many patients,
      9         forcing patients to weigh their decisions
                                                          about perfoming even simple tasks,
                                                                                                  such as deciding
     IO         whether to bathe or prepare and eat
                                                     a simple meal. Accordingly, ME patients
                                                                                                   typically limit their
     lt        activities to briefperiods of time and
                                                        alternate with rest. Additionally, because
                                                                                                    people with ME
     12        must and do operate physically and
                                                      mentally more slowly, many tasks take
                                                                                               significantly longer.
 l3            Accompanying these extreme limitations,
                                                             ME patients also deal with the ongoing threat
                                                                                                            that
 l4            exceeding their limits can cause so-called
                                                             "flares" of syurptom exacerbation and even
                                                                                                          downward
 l5            baseline shifts, resulting in lenglhy or
                                                        even permanent further harm to their
                                                                                               health.
 t6                    32'     Jane Doe suffers from a rnajority
                                                                 of the aforementioned signs and symptoms. prior
 t7             to suffering from ME, Jane Doe was a
                                                          high-ftnctioning attorney who succeeded
                                                                                                         in working for
 l8             extended periods of l2- to l4-hour
                                                      days while also managing her afhirs
                                                                                                and enjoying an active
 t9            personal life' performing requisite tasks
                                                            rvith competency and ease. Her cognitive
                                                                                                           function was
20             powerfirl enough that she passed the
                                                       califomia Bar Examination on her first attempt
                                                                                                             in her second
2t             Ianguage' having learned English mostly
                                                             in her late twenties in the two years priorto
                                                                                                              taking the
22            Bar Examination, and after only one year
                                                              at a us law school. Having ME altered
                                                                                                          Jane Doe,s life
23            almost beyond recognition, obliterating
                                                           her ability to pursue her chosen career,
                                                                                                       severely reducing
24            her ability to connect with family and
                                                        friends, and curtailing even her ability
                                                                                                    to care for herself
25            without support from her husband and paid
                                                                assistants. ln her current state, any
                                                                                                      activity outside
26            very strict limits risks further deterioration
                                                               of her cond.ition.
27                    33'  Jane Doe's current capacity hovers around
                                                                      15% of herprevious output; while on
28            Ampligen, the principal experimental dnrg provided
                                                                 to her by Dr. peterson, it was about 60 to
                                                                   It
                 Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 18 of 47




                 70%'' To illustrate how this manifests, as
                                                             with other ME patients, Jane Doe must take
                                                                                                           exfreme
          2      care in managing her daily activity'
                                                       since her diagnosis, she has not been able
                                                                                                   to perform
          3     expected activities of daily living safely
                                                           and many of herprevious typical activities
                                                                                                        have become
          4     impossible' such as routine household maintenance
                                                                       like cleaning. other tasla have to be adapted
          5     and/or broken down into small steps (e.g., putting
                                                                     a few dishes in the dishwasher) before
      6         weakness, nausea, pain, and a general feeling
                                                              of severe unwellness force her to sit or lie
                                                                                                           down.
      7         Jane Doe cannot stand    for extended periods of time and must sit to perform
                                                                                              even simple tasks,
      8         such as sitting to brush her teeth and using
                                                             a shower chair on the days when she is
                                                                                                    strong enough
      9        to bathe' on a rare "good" day, she is able
                                                           to sit up for 15 to 20 minutes to eat at tlre table
                                                                                                               with
     l0        her husband and child' Jane Doe's husband
                                                            does most of the housekeeping, laundry,
                                                                                                         animal care,
     il        and food preparation, which makes it possible
                                                              for Jane Doe to organize their child,s schedule
                                                                                                                  and
 l2            address a few of the household needs that
                                                         are less physical, such as ordering supplies
                                                                                                         online, all of
 13            which she does lying down.

 t4                    34' Additionally, ME impacts Jane Doe's cognitive functions.                  she must lie down while
 l5            engaging in cognitive activities with her legs
                                                              extended and supported. sitting upright
                                                                                                        at a desk
 16            with her feet on the floor has an immediate and
                                                                deleterious impact on her ability to concentrate
 t7            and also higgers or worsens her physical
                                                        symptoms.
 18                   35'    The report for Jane Doe's two'day CPET,
                                                                        which she underwent at a time when her
 19            health was better than it cunently is, demonstrates
                                                                   objectively the impairment of her firnctional
20             capacity' Jane Doe's assessed measutes of reproducibility,
                                                                              metabolic responses (oxygen
2t            consumption), workload, cardiovascular responses,
                                                                     pulmonary function, and recovery responses
22            were significantly abnormal. All abnormal
                                                             areas were impacted in ways suffrcient
                                                                                                     to ,.severely
23            limit her ability to engage in normal activities of
                                                                  daily living and preclude full-time work of even
24            a sedentary/stationary nature." To illustrate
                                                             the severity of the impairment, it is        important to
25            understand that   in generally healthy individuals   as   well   as in patients   with cardiac, pulmonary, and
26            metabolic disease, the variability of their CPET results
                                                                       day to day is less than eight percent. This
27            means that those individuals can generally reproduce
                                                                     on day two their results frgm day one within
28            an eight-percent window. In contrast, Jane
                                                           Doe experienced a 26%o dropin her metabolic
                                                                   t2
                                                           COMPLAINT
                 Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 19 of 47




          I      responses' a 58yo drop in her workload,
                                                         and a 26% drop in her pulmonary function,
                                                                                                   all on day two
      2         compared to day one of her two-day CPET.
                                                            Further, Jane Doe's oxygen consumption
                                                                                                    for day two
      3         was 39% of the predicted value according
                                                         to the report, meeting the New york Heart
                                                                                                   Association
      4         criteria for moderate (borderrine severe) fi.rnctional
                                                                       impaimrent.
      5                 36'   Furthermore, according to the report, "[m]ost
                                                                             activities of daily living (reading,
      6         walking at a normal pace' computer use, office-type
                                                                      work, etc.) are aerobic in nafure and healthy
      7        individuals are able to perform such activities
                                                               for prolonged periods of time..,,,, If the anaerobic
      8        threshold (the point above which activity requires
                                                                   energy production derived from anaerobic
      9        sources, thereby limiting the duration at
                                                         which activity can be maintained without friggering
                                                                                                                a
 10            prolonged recovery) occurs at low oxygen
                                                           consumption, energy production requires
                                                                                                        anaerobic
 1t            metabolism and normal daily activities cannot
                                                             be sustained or tigger a prolonged recovery period.
 t2            Due to Jane Doe's early-onset anaerobic threshold
                                                                 of g.6 ml kg-l min.l and herreduced work
 l3             efficiency of 58% on day two, indicating moderate
                                                                     to severe metabolic impairment, .,[m]any
 l4             normal activities of daily living would severely
                                                                 tax [Jane Doe]'s capacity to produce energy
 l5            aerobically' oxygen demands for tasks such as
                                                                 driving a car, showering, or climbing stairs fall in
 t6            the range of l0'5 to 14 ml kg'l min'r," which
                                                              is above Jane Doe's anaerobic threshold making
                                                                                                                 it
 t7            likely that she will experience "onset/exacerbation
                                                                    of symptoms', following such activity.
 l8                     37' Because of this devastating impact, Jane Doe sought care with Dr, peterson.
 19                   F.     Dr. Peterson Begins Treating Jane Doers ME
20                    38'    Defendant Dr. Peterson has heated patients suffering
                                                                                   from ME for about 3g years
2t            and is one of the fewphysicians in the world
                                                             who specializes in the disease. starting in 199g,
                                                                                                               Dr.
))            Peterson has served as the principal investigator
                                                                in FDA-approved clinical-trial studies on the
23            treatment of ME patients with "Ampligen,"
                                                           an experimental immune-system modulator
                                                                                                        developed
24            by Hemispherx Biopharma Inc. ("HEB"), now
                                                              known as AIM Immwrotech [nc. Because
25            Ampligen is an experimental drug and has not yet
                                                               been approved by the FDA for the freatment
                                                                                                           of
26            ME' or any other medical condition, the only way that
                                                                    ME patients can obtain and be heated with
27            Ampligen is by participating in a clinical Eial.

28

                                                                t3
                 Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 20 of 47




          I              39'   In 2011, Jane Doe rearned ofthe drug Amprigen
                                                                                  and the ongoing,,open-Laber
      2          study of Poly I:Poly crzu (AMPLIGEN@)
                                                            in Patients wittr severely Debilitating chronic
                                                                                                              Fatigue
      J         syndrome (cFS)"' I upon information and
                                                            belief, at that time, there were only four doctors
                                                                                                               in the
      4         United states administering Ampligen treatments
                                                                   for ME: Dr. peterson in Incline village, NV
      5         and three otherphysicians located in charlotte,
                                                                NC; New york city, Ny; and salt Lake city, ur.
      6         Having been unsuccessful in finding an effective
                                                                  treatment for her ME symptoms that would
      7         allow her to lead a somewhat normal life with
                                                               her husband and young child,    Jane Doe sought to
      8         enroll in the study at the Incline Village location,

      I                40'     Jane Doe set up an appointment with Dr. Peterson
                                                                                in January 2012 to join the
 l0            Ampligen study' Dr' Peterson recornmended a one-year
                                                                        coluse of Ampligen for Jane Doe, which
 ll            he claimed would be sufficient for her
                                                      health to improve. on subsequent     occasions, he even told
 t2            her that he believed she would make "a    full recovery." He made that same representation to
                                                                                                             her
 l3            husband and parents.

 t4                    41'    On or around February 28,2072,Jane Doe entered
                                                                             into an agreement with Dr.
 t5            Peterson and   siena Internal Medicine under which      Jane Doe would receive semi-weekly
 16            intravenous Ampligen infusions at Dr. Peterson's
                                                                 office as part of the clinical tial. Defendants
 t7            were able to adjust Jane Doe's infusion schedule
                                                                to accommodate her travel, allowing her to
 18           receive treatments on days other than the regular
                                                                inftsion days, including on weekends and
 t9           holidays, when her health or her travel circumstances
                                                                     necessitated   it.
20                    42'     Less than two months later,   in Aptil2al2,Jane   Doe received her fust Ampligen
2t             infusion from Dr' Peterson. At that time, Dr. Peterson
                                                                        also becarne Jane Doe,s primary care
22            physician' Initially, Dr. Peterson started treating
                                                                  Jane Doe with 25 mg ofAmpligen during
                                                                                                           each
23            semi-weekly infusion, which he gradually increased
                                                                     over the course of many months until she
24            reached the full dose of 400 mg(i.e.,two 200
                                                               mg bottles of Ampligen).
2s                   43'    Due to the experimental nature of Ampligen, the
                                                                            medication was not covered by
26            health insurance or Medicare. Accordingly, Jane
                                                               Doe was personally responsible forpaying for
27

28            I Protocol
                         Number:   AMp-s1l.
                                                                t4
             Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 21 of 47




             her supply of Ampligen. she would purchase
                                                        her Ampligen from manufacturer HEB through
      2     siena Internal Medicine, which would provide
                                                            her with copies of the purchase orders.
                                                                                                    During
      3     that time' Jane Doe was purchasing two'months'
                                                              supplies of Ampligen at the FDA-approved price
      4     of $75 per bottle' Extrapolated ou! the yearly
                                                           cost for the ftll dose of Ampligen according
                                                                                                        to the
      5     study protocol of two Ampligen bottles (400
                                                         mg) twice per week     was $15,600.
      6             44' sierra Internal Medicine was also responsible for storing and administering
                                                                                                         the drug,
      7    under the supervision of Dr' Peterson. siena
                                                            Internal Medicine's would store Jane Doe,s bottles
      8    in a section reserved for her supply in the refrigerator
                                                                     designated for the storage of Ampligen,
     9     which was located in siena Intemar Medicine's
                                                               rocked lab.
 l0                45'     Around the summer of 2013, Dr. Peterson began
                                                                             treating Jane Doe with Intravenous
 l1        Immunoglobulin ("IVIG") in addition to Ampligen.
                                                                  Dr. Peterson also added saline to some of her
 l2        infusions' These additional infusions initially took place
                                                                      at Dr. peterson,s office, but in or around
 l3        December 20l5,Jane Doe began receiving
                                                       bi-weekly home infusions of IVIG (and later also
 14        saline) prescribed by Dr. peterson at her home
                                                            in Menlo park, carifornia,
 l5                46'    For five years in the Ampligen trial, Jane Doe's
                                                                            health improved significantly. In
 16       fact, for a brief period of time between July and
                                                             November 2015, on the advice of a different
 17       physician, Jane Doe discontinued her treafinent
                                                            with Ampligen. Her condition significantly
 l8       deteriorated, confirming for Jane Doe that Ampligen
                                                                  was a life-changing  drug. Indeed, Jane
19        Doe's health had improved enough while she was
                                                           receiving the Ampligen treatment that she was
20        able to become a prominent patient advocate for
                                                          ME and Ampligen while she was on the drug.
2l                G.    Defendants Begin Mismanaging the Amprigen
                                                                            crinicar_Triar study
22                47 '  Beginning in or about 2015, Defendants' performance
                                                                                 of their responsibilities for
23         the Ampligen clinical trial began to worsen.
                                                        For instance, sierra Internal Medicine, which was
24        responsible for ordering Ampligen for Jane Doe,
                                                            stopped placing orders when Jane Doe,s supply
25        was running low' Jane Doe was forced to begin
                                                           tracking her supply of Ampligen and actively
26        make sure sierra Internal Medicine was placing
                                                          the appropriate orders for her so that she did not
27        run out of medication' sierra Internal Medicine also
                                                                failed to follow other protocol requirements,
28

                                                            l5
                 Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 22 of 47




                 such as providing Jane Doe with lab
                                                     orders and questionnaires and      notiffing her of deadlines for
          2      Ampligen physicals, EKGs, and other requirements.

          J              48'   Defendants also stopped providing Jane
                                                                      Doe purchase orders for her Ampligen.
          4      Instead' siena Internal Medicine-and
                                                      later simmaron, which had begun administering
                                                                                                    some            of
          5     siena Internal Medicine's clinical trial'coordination
                                                                      responsibilitie*begun unilaterally charging
          6     Jane Doe's credit card on file for Ampligen
                                                             without providing her with documentation.
      7                 49'    Jane Doe raised her concerns about Defendants'
                                                                              management of the clinical trial
      8         with Defendants, but did not receive a response.
                                                                   Jane Doe was fearful that if she insisted
                                                                                                              that
      9         Defendants address her concerns, Defendants
                                                                would retaliate and eject her from the clinical
                                                                                                                trial.
     10         Indeed' according to the various Institutional
                                                               Review Board C'IRB,,) approved consent forms
                                                                                                                   Jane
     ll         Doe signed, Dr' Peterson had discretion
                                                          to remove her from the clinical trial for
                                                                                                    any reason:
 12                       Your study Doctor and/or the sponsor have the
                                                                            right to withdraw you from the
                         study, without regard to subject consent, at
 13                                                                    any tite if required, for example,
                         by a change in your medicaicondition, *iiltatu*uiorupprouur
                         change in the protocol duration, a1d.g
                                                                                            ortrri, ,tuay, u
 l4                                                                   9".ni,   *rrr, the dosing  and testing
                         requirements of the protocol, use of prohibited
                                                                          m.Oi"utions or other reasons.
 l5
 t6            True and correct copies of consent forms
                                                        are attached hereto as Exhibits     A and B.
 t7                    50' starting in or around June 2016, without explanation,
                                                                                 Defendants reduced Jane
 18            Doe's Ampligen orders to once a month from
                                                           the bi-monthly       orders she had previously received.
 t9            Defendants did not explain why Jane Doe's
                                                         orders had been reduced; however Jane Doe
                                                                                                     later
20             learned that HEB was experiencing an Ampligen
                                                              inventory shortage. Defendants failed to inform
2l            Jane Doe of this supply issue, and Jane
                                                      Doe was forced to ration her Ampligeq taking half       doses
22            (i.e',200 mg) instead of her full prescribed
                                                           dosage (i.e.,400mg) and missing infisions,
23                    H. Jane Doe is unnbre to purchase Amprigen Due to a suppry shortage
24                    5l ' In early December 2016,Jane Doe discovered,
                                                                           purely coincidentally,  that her
25            Ampligen supply had dwindled to one bottle.
                                                             Defendants had not notified her that her supply
                                                                                                              was
26            low' nor had they informed her of the Ampligen
                                                               shortage, concerned for her health, she sent
                                                                                                             Dr.
27            Peterson an ernail in early December inquiring
                                                             about the stafus of her order of Ampligen for
28            December' Dr' Peterson did not reply' Jane Doe
                                                                believed at the time that Defendants had failed
                                                              t6
                 Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 23 of 47




          I      to properly purchase her medication,
                                                       but felt she could not raise the issue out
                                                                                                  of fear that Dr.
          2      Peterson would eject her from the
                                                   trial in retaliation.
          3             52'    By mid-January 20l7,Jane Doe had completely
                                                                                  exhausted her supply ofAmpligen.
          4     Defendants told Jane DoE that they could
                                                            provide her with infirsions with bottles
                                                                                                     of Ampligen in
          5     their possession from past hial participants
                                                              who had purportedly donated their extra
                                                                                                        bottles.
      6         Although Jane Doe was uncomfortable using
                                                               Ampligen that had been     purchased by other patients,
      7         she very much wanted    to continue her treatment and, after obtaining
                                                                                       assurances from HEB and
      8         simmaron that proper consent had been
                                                      obtained from the donating patients, she
                                                                                               agreed to accept
      9         the donated bottles.

     l0                53' In February 2017, Dr-Peterson represented to
                                                                        Jane Doe that the bottle price of
     ll        Ampligen was going to be increased from
                                                       $75 to $400. While this significant increase
                                                                                                    came as a
 l2            shock to Jane Doe and the other Incline
                                                       village Ampligen patients, Jane Doe accepted
                                                                                                      Dr.
 13            Peterson's representations as true. However,
                                                             Jane Doe later leamed that the FDA
                                                                                                 had authorized a
 l4            price increase for Ampligen from
                                                 $75 to $20G-not $400 as Dr. peterson had
                                                                                             misrepresented.
 l5                    54'    Around the same time, rumors began circulating
                                                                                that the Ampligen trial was at risk
 T6            of being terminated and that there would
                                                          be no additional Ampligen supply. These
                                                                                                     rumors created
 t7            a high level of distress and fear among
                                                       the Ampligen patients at the Incline village
                                                                                                     clinic,
 t8           including Jane Doe' Accordingly, in February
                                                               and March z0l7,Jane Doe sent emails
                                                                                                        to IIEB
 l9           requesting an update on the status of the
                                                         Ampligen clinical trial. HEB,s General counsel
20            responded that HEB typically does not
                                                       communicate directly with patients,    but nonetheless
2t            responded:

22                      Last year there was an inventory shortage while
                                                                        the new batch of Ampligen was
                                                               -manufacturer.
                        being   manufacfured at our ctntract
23
                        communicated to all:]:"t"."t sites. Thatproduct
                                                                                 rtis iorormation was
                                                                         has rinre berome available for
                        clinical patient use. we ulr:
24
                        was also communicated with theTuag chanles to the clinicalstudy design which
                                                          clinicaliites.
25

26                   55'    while   Jane Doe had heard rumors ofprotocol changes,
                                                                                  HEB,s email was the        first
27            time she learned of the Ampligen inventory shortage,
                                                                   which had been causing the supply issues.
28

                                                                17
                                                           COMPLAINT
                  Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 24 of 47




          I                I'       Defendants Make x'alse Promises to Purchase
                                                                                and supply one year,s worth of
          .,                        Ampligen for Jane Doe

      J                     56' Even after her months of cautious rationing,
                                                                              on March 13,z0l7,Jane Doe was
                 infused with the last of the donated bottles
      4                                                       of Ampligen, Between January and March
                                                                                                          2017,
                 instead of the approximately 10,600
      5                                               mg of Ampligen she should have received,
                                                                                                  Jane Doe received
                 only approximately 2,800 mg. During this
      6                                                       time, she experienced a marked decline in
                                                                                                        her health,
                 and she was eager to resume her regular
      7                                                    Ampligen treatment to support her rapidly
                                                                                                     deteriorating
                 health.
      8

      9                    57   'The same day as Jane Doe's last infusion
                                                                             of donated Ampligen, Dr. peterson
                 approached her with a proposal. He represented
     10                                                              to Jane Doe that Defendants could procure
                                                                                                               and
 lt              sell to her a full one-year supply of Ampligen
                                                                 that would be stored at Defendants, office
                                                                                                            and set
                 aside exclusively for her use if she would prepay
 t2                                                                  the full amount up fron! as opposed to
                purchasing bi-monthly or monthly supplies
 t3                                                           from FIEB. Dr. peterson also assured her that

 t4             Defendants would refund her for any unused
                                                                bottles of Amprigen shoutd she exit the program
                                                                                                                 or
                choose not to use all ofthe medication for
 l5                                                          any reason, which was consistent with the
                                                                                                        consent form
 l6             agreement she had signed with Defendants in
                                                                the past. Dr. Peterson represented to Jane
                                                                                                           Doe that,
 t7             by purchasing the Arnpligen from Defendants,
                                                                 she would be guaranteed a steady supply
                                                                                                           of
 t8             Ampligen and protected against ftture supply
                                                                shortages.

 t9                       58'
                            Dr' Peterson offered to sell Jane Doe the one-year
                                                                               supply of Ampligen     at the price   of
20             $200 pet bottle' Jane Doe required approximately
                                                                 208 bottles peryear,    so her one-year supply

2l             would cost $41'600' Although prepaying
                                                           $41,600 in a lump sum was a substantial inveshnent,
                                                                                                               in
))             light of the hardship, suffering, and uncertainty
                                                                 Jane Doe had experienced during the Ampligen
               shortage and in reliance on Dr, Peterson's promises
23                                                                  that he could detver this supply of Ampligen
               and his commitment that Defendants would
24                                                          refund any unused amounts for any reason, Jane
                                                                                                             Doe
               accepted Dr' Peterson's offer to purchase
25                                                       the one-year supply of the Ampligen fiom
                                                                                                     Defendants.
26             cynthia Dooley, Dr. Peterson's and Siena Internal
                                                                  Medicine,s Medical Records Manager,

27             confirmed thc order for a one-year supply of Ampligen
                                                                     and charged    Jane Doe,s credit cards   for
28             $41,600.

                                                                IE
             Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 25 of 47




                        59'   The next day, Jane Doe emailed Simmaron to
                                                                         confirm heipurchase of a one-year
      2      supply ofAmpligen from Defendants for g41,600.
                                                            Simmaron conJirmed the agreement on March
      J     15'2017 and, hvo days later, sent Jane Doe a new
                                                             consent form agreement, which provided that
      4     any of the unused medication she purchased would                    ,,upon
                                                              be fully       refundable:          discontinuation
      5     from the study, any unused investigational study
                                                             medication will go back into the study drug
      6     inventory and you will be refunded the original purchase
                                                                     price of the unused investigational study
      7     medication'" The consent form, Iike the prior consent
                                                                  forms she had signed, also required that
      8     Jane Doe submit to a chest x-ray and physical
                                                          with Dr. Peterson if she were to exit the study.
      9     Upon information and belief, Dr. Peterson and siena
                                                                 Internal Medicine co-signed the consent
 l0        form' A hue      and correct copy of the consent form is attached
                                                                             hereto as     Exhibit B.
 ll                 60'    In April 2017,Dr. Peterson told Jane Doe:
                                                                     "we received a very large shipment of
 l2         Ampligen yesterday most of which is yours," Naturally,
                                                                     this caused Jane Doe to believe that
 l3        Defendants had obtained her one-year supply of
                                                             Ampligen. That same day, Jane Doe received her
 t4        first infusion from what she believed to be her one-year
                                                                    supply, after having not received any
 l5        infusions for a month.

 t6               J'        HEB Suspends Dr. Peterson's Clinical Trial Site for protocol
                                                                                         Violations
 t7                6l   '   on May 17,2017 , iust two months after Jane Doe purchased
                                                                                             her one-year supply   of
 l8        Ampligen from Defendants, Defendants informed
                                                                Jane Doe that infusions would be suspended
 l9        until the conclusion of a HEB site visit scheduled for
                                                                    the following week. Following the HEB site          I
20         visit, HEB put a hold on the clinical study at Incline village,
                                                                             effective May 26,2017, extending
2t        the suspension of infusions. Upon information and
                                                                 belief, it was not a hold on the trial itself but a
22        hold on Dr' Peterson as a site investigator for the trial
                                                                    due to serious protocol violations by him
23        and his alter ego companies. At that time, Jane
                                                             Doe had received approximately seven ofthe 20g
24        single-bottle Ampligen doses for which she had prepaid.
                                                                        she believed the remaining
25        approximately 200 bottles were now in limbo, owned
                                                                    by her but unavailable for her use due to the
26        suspension' Jane Doe's health, which had not yet
                                                               recovered from the prior missed infusions and
27        reduced doses, started to deteriorate firrther.

28

                                                              l9
                                                        COMPLAINT
             Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 26 of 47




      I            62'      Five months into the suspension, on October 22,2017,Jane Doe
                                                                                         received by email
      2    from Dr. Gunnar Gottschalk, a Research Manager at Simmaron,
                                                                             a letter of the previous day sent
      3    on behalf of Sierra Internal Medicine and Dr. Peterson. In
                                                                      the letter, Defendants Siena Internal
     4     Medicine and Dr, Peterson claimed for the first time that Dr. Peterson
                                                                                  and Siena Internal
     5     Medicine had only bought a four-week supply for Jane Doe and had
                                                                               not used her money to order
     6     the 208 bottles as promised. They also falsely claimed that
                                                                       Jane Doe had only been charged for
     7     medication that she had used, which at that point was only approximately
                                                                                    seven bottles, and
     8     reiterated her right to a refund:

     9               HEB has raised concems that patients were miss-lead
                                                                                  [sic] by myself with
                     respect [sic] multiple issues, but most importantly those-centerea
 l0                  amount of drug that was purchased by individuali. Prr the protocol,     -ounA tfr.
                                                                                               we were
 il                  only able to order the maximum of a four-week supply of the drug. Tir.
                     that you paid was not utilized for the purchase
                                                                                                 ron.y
                                                                       tsict trre April 26l z shifment.
 t2                  You have only been charged for oach bottle tiat is infused. Fees collected
                     for infusion costs were done so to defray the overhead that is no toogrr
                                                                                               rou"rra
 13                  by HEB, (Emphasis in original.)

 t4                  Importantly,   if you choose to withdraw from this study you will     be refunded
15
                     based on the number of infusions you received promptly.

t6                63'    The October 22letter also demanded that Jane Doe sign an attestation
                                                                                              falsely stating
t7        that she had only purchased a four-week supply ofAmpligen at
                                                                       $200 per boffle:
l8                  I also disclose that I understand I have only purchased the tirst FOUR
                    weeks of treatment at the FDA_approved price of $200 dollars per
t9                                                                                       botge.
                    Payments which exceeded the FDA-apptoueld bottle price reprer"tii
                                                                                      trr. .ort,
20                  associated with infusion related services. (Emphasis aaa*a;. '

2t        True and correct copies of the email and the letter, including the attestation,
                                                                                          are attached as
22        Exhibits C and D.

23                64.   Of course, the facts set forth in the letter and attestation were false and
                                                                                                    Defendants
24        knew it; months before, they had charged Jane Doe's credit cards
                                                                           $41,600 for a full-year,s supply
25        of Ampligen. Jane Doe replied to Simmaron that she could not sign the
                                                                                attestation because Dr.
26        Peterson had promised her that Defendants would purchase a one-year
                                                                              supply of Ampligen on her
27        behalf in March   2afi   and that Defendants charged her $41,600 for the purchase:

28
                                                            20
             Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 27 of 47




      I               I am asked t9 ryknowledge        that   I   have purchased only "FOIIR weeks       of
                     trea&nent" at $200 per bottle. I must point out that is not what
      2                                                                                Dr. peterson and
                     I agreed up^o_n: _as yas clearly confirmed in writing. we agreed that I was
                     purchasing 208 bottles of Ampligen (a year's supplylat
                                                                                $200 [er botu,
     3
                     fact, I paid Siena Intemal Medicine $+i,Ooo for this puqpose. understand    -a, in
                                                                                      I             that
     4               I_** buying_the drug from Dr. peterson who in-turn was buying it from
                     Hemisphem. I was told ttris woul{ facility
                                                                    lsicJ my getting the drug o] tong-
     5               term basis. I was further assured that most of rit" ,Ver! hrge,,-lpit"
                                                                                                    ZOtl
                     shipment of Ampligen represented the bottles I had purctras-ea.            i
     6                                                                                           aia not
                     understand or agree that any of the $4 I ,600 I paid for emitgen
                                                                                        was for infusion
     7               or overhead cost. (Emphasis in original.)

     8
                  65.    In response, Dr. Gottschalk disclosed that Dr. Peterson was subject
                                                                                             to an IRB
     I     determination of serious non-compliance for failing to comply with protocol
                                                                                       requirements. He,.,
 l0        firrther represented that the rest of Jane Doe's money was being
                                                                            held in an escrow account, but rliil
 1l        not disclose any information about the account or under whose
                                                                         name the account was being
 t2               66.    Through these exchanges, Jane Doe leamed for the very fust time
                                                                                         that
 13
          had not obtained a   full one-year supply of Ampligen      as Defendants had promised, but instead
 l4       potentially only pruchased a four week supply (i.e.,20 bottles)
                                                                          of Ampligen for her, of which Jane
l5        Doe had only used seven bottles. Defendants' failure to purchase
                                                                           Jane Doe's one-year supply           of
l6        Ampligen was highly dishessing to Jane Doe, However, Jane Doe was
                                                                            caught in a bind: if she
t7        demanded an immediate refund, Defendants could eject her from
                                                                        the clinical hial, and she would
l8        lose access to Ampligen for the foreseeable future. Indeed the
                                                                         October        Z2,2An letter also
19        reinforced the precariousness of her situation, stating: "In the current
                                                                                   state of the protocol,
20        withdrawing from this study will prevent access to the drug indefinitely.',
2l               67.    Jane Doe   still did not agree to sign the attestation on the basis that it was inaccurate
22        but chose to remain in the study based on Simmaron's assurance that Dr. peterson
                                                                                           (or one ofhis
23        entities) was holding her funds in escrow to be used as the drug was administcred
                                                                                            to her.
24               K.     Defendants Resume the Ampligen Study
25
                 68'    In or around February 2018, HEB lifted the clinical-study suspension at the lncline
26        Village site. In May 2018, Glenda Hill, Business Manager at Sierra Intemal
                                                                                     Medicine and
27        Executive Director of Simmaron, infornred Jane Doe that Defendants'.now
                                                                                  have ample supply
28
                                                              21
            Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 28 of 47




     1    available to purchase in order to continue the clinical trial" with Ampligen
                                                                                       from which they would
     2    be ordering and that     all boules will be'obarcoded and dosed ONLY to
                                                                                  [Jane Doe].,, In the same
     3    communication, Sierra Internal Medicine again committed to keeping
                                                                             Jane Doe's funds in a
     4    "separate patient account established strictly for    Ampligen." The email further indisated that Dr.
     5    Gottschalk of Simmaron would be handling the accounting and ordering for
                                                                                   the hial.
     6               69.   Defendants also notified Jane Doe that inftsion days would no longer be flexible

     7    and that infusions could take place only on Mondays and Thursdays. Jane
                                                                                  Doe informed
     8    Simmaron that she could not commit to the fixed infusion schedule because
                                                                                    she lived over 200
     9    miles from the trial site and the current state of her health and the unpredictable weather
                                                                                                      in the
 l0      Lake Tahoe area made travel to Incline Village unpredictable or impossible.
                                                                                     Having been           offof
ll       Ampligen for a year, Jane Doe's health had deteriorated back to its pre-Ampligen state
                                                                                                and
L2       frequent havel from her horne in California was out of the question. Furthermore,
                                                                                           being away
l3       from home was no longer an option due to her changed family circumstances.

t4               70.       In response, Dr. Gottschalk told Jane Doe that, if she remained in the trial, after an
15       initial period of strict compliance, the rules around the infusion schedule and other trial

l6       requirements would again be relaxed either through protocol revisions or protocol
                                                                                           deviations
t7       approved by Dr. Peterson and that Defendants could accommodate Jane Doe. Dr.
                                                                                      Gottschalk
l8       further represented that Defendants believed there was the potential for Jane Doe to
                                                                                              eventually
l9       receive Ampligen infusions at her home in Califomia        if   she stayed in the trial.

20               7l'       Relying on the promise of future flexibility, including the prospect of home
21       infusions, and repeated assurances that she would be fully refunded for any
                                                                                     unused Ampligen (and
22       that her money was being kept in a separate escrow account), Jane Doe agreed to remain
                                                                                                in the
23       clinical trial despite knowing that it might take months or longer before she would gain
                                                                                                  acflral
24       access to   Ampligen treatment again.
25              L.      Defendants Refuse to Refund Jane Doe for the Unused Amptigen and Secretly
                        Remove her from the Trial
26

27
                72.     Over the next two years, neither a relaxation of infusion scheduling nor the home-          I
         infi'rsion opportunity materialized. Accordingly, on July 28, 2020,Jane Doe requested
28
                                                                                               a refund        of
                                                              22
                                                         COMPLAINT
                     Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 29 of 47




                     the prepaid money for the unused
                                                       Ampligen. Dr. Peterson responded
                                                                                              that Defendants would
              2      conduct an audit and assured
                                                  her that she was still enrolled
                                                                                  in the hial: ,,we
                                                                                                havc a very shict
           3        accounting with the pharmaceutical
                                                       company and the f<ta
                                                                            [sic]. I will have the staffaudit
          4         everything and let you both know'
                                                      Ampligen is being used in conjunctibn
                                                                                              witrr      other modarities
          5          for endometriosis and cancers
                                                    as well as corona. pane Doe]
                                                                                   still has her slot and alottment
                                                                                                                    [sic].,,
          6                 73'    Despite Defendzurts'promise to
                                                                    "audit'their records, they neverproduced
                                                                                                                 any audit
          7         results and did not refund Jane
                                                    Doe's money. Between Jury 2g,
                                                                                        2020 andJanuary 7,2022,on
          8         three separate occasions Jane
                                                  Doe*ither on her own behalf or through
                                                                                               her husband-rmailed
       9            Dr' Peterson requesting a refund for
                                                         the approximately 200 bottles of
                                                                                            Ampligen that she had not
      l0           been able to use' valued at
                                               $40,200' Dr' Peterson responded to these
                                                                                            emails by representing that
     ll            he and his staffmembers, bookkeeper,
                                                            and certified public Accountant
                                                                                              (,,cpA,,) would ,bork on,,
     t2            Jane Doe's refund. yet no refund
                                                       evermateri alized.
     13                    74'    on February 4,2022,Jane Doe's husband
                                                                        emailed Dr. peterson on Jane Doe,s
     l4            behal{ yet again requesting the money
                                                          Jane Doe paid for Ampligen that
                                                                                            she did not receive and
     l5           informing Dr' Peterson that Jane Doe
                                                         would pursue her legal remedies if
                                                                                            he did not refund the
 16               funds by February 18,2022' Defendants
                                                             did not respond and, when this deadline
                                                                                                     passed, it was
 t7               clear that Defendants had no intention
                                                         of returning Jane Doe,s money as promised.
 l8                       75'    on March 3' 2o22,Jane Doe      learned for the very first time
                                                                                                from that Defendants had
 l9               ejected her from the Ampligen clinical
                                                           trial, JaneDoe never withdrew herself from
                                                                                                        the study, and
 20               she believed up until this time
                                                  that she continued to be a study participant
                                                                                               allowed by Defendants
 2t             to remain in the study until home infi'rsions
                                                                or flexible infusion days were established.
                                                                                                              upon
))              information and belief Defendants
                                                       ejected her secretly, without notice
                                                                                             to her, from the study
23              either in retaliation for her demand
                                                       to retum the prepaid money for
                                                                                         her unused Ampligen or in an
24             attempt to deter her from requesting
                                                        a refund bolstered by Dr. peterson,s
                                                                                               representation that she
25             still had her "slot" in the trial and her
                                                         "alottment" [sic] of Ampligen. Jane
                                                                                                Doe bas never received
26             formal notice from Defendants
                                                  or HEB that she was removed from
                                                                                        the sfudy, nor does she know
27             when Defendants had her removed,
                                                       and she, of course, has not received
                                                                                             a refund.
28

                                                                   23
                      Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 30 of 47




               I               76'   Indeed' in an apparent effort
                                                                    to conceal the fact that Defendants
                                                                                                           had removed her
              2        from the program and had stolen
                                                          her money either in retaliation
                                                                                           for her demands or to deter her
              3       from pursuing legal avenues
                                                     to obtain the refund she was
                                                                                    entitled to, Defendants also failed
                                                                                                                         to
           4          follow the clinical hial exit protocol,
                                                              which required Defendants to
                                                                                               order a chest x-ray and have
                                                                                                                              a
           5         physical of Jane Doe performed
                                                         by Dr. Petersono the principal
                                                                                         investigator, at the end of her
           6         participation' Indeed' this
                                                  was an express requirement
                                                                                of the study protocor and the
                                                                                                                IRB-approved
           7         consent form signed by Jane
                                                    Doe and all other study participants,
                                                                                            as we1 as, upon information
                                                                                                                            and
          8          belief, by Defendants.

          9                  77   '     on March 7' 2022, a "special-projects"
                                                                               contractor for sierra Intemal
                                                                                                             Medicine
      10            called Jane Doe's husband claiming
                                                         that Dr. Peterson was out of
                                                                                       town but wourd send Jane Doe
                                                                                                                    a
      l1            check together with a
                                          "reconciliation" upon his retum. siena
                                                                                    Intemal Medicine again did not
     t2             disclose that Jane Doe had
                                               been ejected from the trial,
                                                                            and Dr. peterson never refunded
                                                                                                            Jane Doe,s
     l3             money.

     T4                     78'    Defendants have been on notice
                                                                    of Jane Doe's demand since July
                                                                                                    2020 when she
     15             first requested a refund for the prepaid
                                                             Ampligen she had not received.
                                                                                            on numerous occasions,
     16             Defendants stated that they
                                                 were investigating Jane Doe's
                                                                                  request, conferring with specialists,
 l7                such as a bookkeeper and
                                            a       cPA, and would provide a refund
                                                                                      as   confirmed by Defendants, books
 18                and records.

 l9
                                                         FIRST CAUSE OT'ACTION
 20
                                                        (Fraud Against All Defendants)
 21                        79.        Jane Doe hereby incorporates
                                                                   by reference paragraphs    l   through 7g above, as
22                 though fully set forth herein.

23                        80'Defendants made numerous oral
                                                                  and witten misrepresentations
                                                                                                  to Jane Doe, a
24             california resident' including, but
                                                    not limited to, those set forth
                                                                                    above, knowing those statements
25             were false or with reckless disregard
                                                      as to their truth or falsity.
                                                                                    In making these representations,
26             Defendants intended to induce
                                               reliance by Jane Doe on those
                                                                                 representations and, indeed,
                                                                                                                   Jane
27             Doe justifi ably relied on Defendant,
                                                     s misrepresentations.
28

                                                                      24
                     Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 31 of 47




               I             8l   ' For example' in March 20l7,Dr-
                                                                        Peterson represented to Jane
                                                                                                     Doe that Jane Doe
               2      could purchase a one-year
                                                 supply (i'e,,2l|bottles ofAmpligen)
                                                                                         direcfly from Defendants to
              3       avoid any future Ampligen
                                                  shortages if Jane Doe would
                                                                                prepay Defendants for
                                                                                                       the fuil amount of
           4          $41'500' Dr' Peterson further represented
                                                                  that Defendants would store
                                                                                               Jane Doe,s entire supply
           5         and reserve her bottles
                                             exclusively for her use and that
                                                                               any unused Ampligen wourd
                                                                                                            be refunded.
           6         Dr' Peterson made these false
                                                     representations to induce Jane
                                                                                    Doe to pay $41,600 to Defendants
           7         and remain in the Ampligen
                                                  trial, which she did.
           8                82'       At the time Dr' Peterson made the
                                                                        offer, he knew that Defendants
                                                                                                       couldnot procure
          9         the one-year supply of Ampligen
                                                       for Jane Doe or made the representation
                                                                                                with reckress disregard
      l0            of its truth' lndeed' upon information
                                                            and beliefl Dr. peterson knew
                                                                                          that Defendants courd not
      ll            fulfill this promise because the manufacturer
                                                                  of Amprigen alrowed Defendants
                                                                                                    to purchase onry
     t2             20 bottles per patient at a time.

     t3                    83.    Similarly, Cynthia Dooley at
                                                                Sierra Intemal Medicine represented
                                                                                                      to Jane Doe that
     l4            Defendants were accepting
                                                her payment of $41,600 in
                                                                           exchange for a one-year
                                                                                                     supply of
     l5            Ampligen and accepted herpayment,
                                                          knowing that Defendants could
                                                                                         not fulfill this promise or
     l6            with reckress disregard for the
                                                   truth. siena Internar Medicine
                                                                                      made the representation to induce
     t7            Jane Doe to pay Defendants
                                              $41,600 and remain         in the Ampligen tuial, which
                                                                                                      she did.
 18                       84.     Additionally, after
                                                 Jane Doe paid Defendants
                                                                          the $41,600, Marie Norell
                                                                                                     at
 l9                Simmaron acknowledged receipt
                                                 of Jane Doe,s payment for the purchase
                                                                                        of a one_year supply         of
 20              Ampligen and represented her intention
                                                           that Defendants would ,.place
                                                                                            the order,,the following
 2t              week, knowing, or with reckless
                                                   disregard for the fruth, that Defendants
                                                                                              could not obtain 20g
22              bottles of Ampligen they had promised
                                                          and further concealing Defendants,
                                                                                                 fraud. Additionally,
23              both before and after Jane Doe
                                                 made her purchase, Simmaron
                                                                                   provided her with an updated
24              consent form to sign, which promised
                                                         her a refund of the originar purchase
                                                                                                price for any unused
25             study medication if she reft
                                             the study, simmaron provided
                                                                               this form knowing, or with
                                                                                                            reckless
26             disregard for the tnrth, that
                                             Defendants had no intention
                                                                           of ever refurning Jane Doe's
                                                                                                          money.
27                     85. Defendants made these representalions intending
                                                                                   to induce Jane Doe to pay them
28             $41'600 in reriance on their promise
                                                      to purchase 20g bottres of
                                                                                   Amplige4 and she had no reason
                                                                    25
                    Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 32 of 47




              I      to doubt these representations.
                                                     At the time Jane Doe agreed to pay
                                                                                           Defendants for a one-year
              2      supply of Ampligen' Jane
                                               Doe was unaware that Defendants
                                                                                    could not fulfill theirpromise
                                                                                                                   due to
              3     the fact that HEB allowed the purchase
                                                              of only 20 bottles perpatient at
                                                                                               the time. Had Jane Doe
          4         knolvn the truth and absent these
                                                      misrepresentations, she would
                                                                                      not have agreed to make this
          5         payment.

          6                86'    Between March 2017 and'october
                                                                         20l7,Jane Doe was unawaf,e,
                                                                                                       and could not have
          7         discovered with reasonable diligence,
                                                             that Defendants had not purchased
                                                                                                 the Ampligen supply as
          8         promised' In fact' Dr' Peterson
                                                      rejrresented to Jane Doe that
                                                                                    Defendants had ,teceived a very
          9        large shipnrent of Ampligen"
                                                   most of which, he claimed, was
                                                                                     hers. on october 22,2017, she
      10           learned for the first time that
                                                   Defendants had not obtained a
                                                                                   full one-year suppry of Amprigen for
     ll            her, as promised.

     12                   87' when Jane Doe leamed that Defendants had not,
                                                                                  in fact, purchased all of her
     l3           Ampligen as promised' Defendants
                                                      made false or intentionally misleading
                                                                                               representations to Jane
     t4           Doe to further their continued
                                                 fraud. Dr. Gunnar Gottschalk at simmaron
                                                                                              claimed      that Defendants
     l5           had the remaining amounts of
                                               Jane Doe's funds        in escrow. In May 201g, simmaron
                                                                                                        and siena
  l6              Internal Medicine again represented
                                                        to Jane Doe that Defendants had
                                                                                          set aside herprepaid funds
 t7               in a separate patient account, again
                                                       falsely reassuring her that her money
                                                                                              was safe and that she
 18              would be reimbursed for any Ampligen
                                                             she did not use. They frrther
                                                                                             represented that they wourd
 19              be ordering for Jane Doe from
                                                  the "ample supply" of Ampligen
                                                                                      now available and that Jane Doe,s
 20             medication would be ..barcoded
                                                    and dosed ONLY to pane Doe].,,
                                                                                        Defendants made these
 21             misrepresentations with the intent
                                                      that Jane Doe rely on the representations,
                                                                                                    remain in the crinical
22              trial, and not resort to other avenues
                                                        to recover her money, such as firing
                                                                                                a lawsuit.
23                      88'     simmaron further falsely represented
                                                                        to Jane Doe that, if she stayed
                                                                                                          in the clinical
24             trial' the infusion scheduling would
                                                       eventually become flexible and
                                                                                         she would be able to resume
2s             infusions that accommodated her
                                                    health and ability to travel. simmaron
                                                                                               further told Jane Doe of
26             the prospect receiving Ampligen
                                                   infusions at her home in Menlo park,
                                                                                            california. Relying on
27            these statements' Jane Doe agreed
                                                     to remain in the clinical hial and
                                                                                        did not request an immediate
28            refirnd for her unused Ampligen.

                                                                  26
                      Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 33 of 47



               I                 89'  when Defendants' promises
                                                                    of a rela,xed inftsion schedule
                                                                                                     and home infirsions did
              2        not materialize for two years,
                                                      Jane Doe requested, in July
                                                                                     2020, June 202l,and January
              3
                                                                                                                      2022,a
                       refund for the Amptigen she
                                                    had prepaid but not used.
                                                                                 In response to each of these requests,
           4                                                                                                             Dr.
                      Peterson' on behalf of himsel{
                                                       sierra Internal Medicine, and
                                                                                        simmaron, tord Jane Doe that
                                                                                                                       he was
           5          looking into her request or
                                                  otherwise taking steps to issue
                                                                                    her a refund, but he did
                                                                                                             not follow
           6          through.

           7                  90'    In a further effort to conceal'Defendants,
                                                                                  fraud-<ither to deter Jane Doe
                                                                                                                      from
          I           seeking legal recourse in pursuit
                                                          of a refrurd of the prepaid funds
                                                                                             or in retariation for Jane Doe's
          9           requests for a refirnd-Dr. peterson
                                                              secretry ejected Jane Doe
                                                                                         from the Ampligen clinical hial.
      l0             Defendants did not inform
                                                   Jane Doe of this status change
                                                                                    despite their fiduciary obligations
      l1                                                                                                                  to do
                     so' In fact, Dr' peterson arso farsely
                                                              tord Jane Doe that she stilr has
                                                                                               her "slot" in the trial and
     t2              "alottment" [sic] of Amprigen as
                                                          of Jury 2020. Jane Doe reried
                                                                                           on Dr. Peterson,s
     l3             mrsrepresentations and berieved
                                                      that she was stilr enroled in
                                                                                    the study, still had herAmpligen
     t4             allotment, and that Defendants
                                                    wourd facilitate a refund for
                                                                                  her, allowing Defendants to
                                                                                                                continue
     15             to retain wrongfrrl possession
                                                   of Jane Doe,s property, which
                                                                                   was a substantial factor in
                                                                                                               causing
     l6             damages to Jane Doe.

  t7                        91'    Dr' Peterson'   as a researcher and clinician
                                                                                 treating this
                                                                                        wlnerable patient population,
 l8                knew how serious and potentially
                                                    long-lasting the impact, injury,
                                                                                     and distress of these ongoing
 l9                bad acts and misrepresentation
                                                  would be on Jane Doe.
 20                        92'    Defendants' acts alleged herein
                                                                  were willful, wanton, malicious
                                                                                                  and oppressive and,
 2t                therefore, justify awarding exemplary
                                                          and punitive damages.
22                         93'    As a direct and proximate result
                                                                   of Defendants' intentional misrepresentations
                                                                                                                 and
23                 omissions, Jane Doe has suffered,
                                                     and     will   continue to suffer, emotional, physical,
                                                                                                             psychological,
24                and monetary damages in
                                          an amount to be proven at
                                                                    trial.
2t                        94'    WHEREFORE' Jane Doe prays
                                                           forjudgment against Defendants
                                                                                          as set forth below.
26

27

28

                                                                        27
                      Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 34 of 47




               I

              2
                                                @reach of Written Contract Against All
                                                                                       Defendants)
              3                95'      Jane Doe hereby incorporates
                                                                     by reference paragraphs      I through   g4 above,
                                                                                                                        as
           4          though   fully   set forth herein.

           5                   96' In the alternativen Defendants breached their
                                                                                 contractual obligations to Jane
                                                                                                                 Doe,
           6                   97 ' on or around March 8,2}l7,Simmaron
                                                                            sent Jane Doe an agreement
                                                                                                                 with sirnrnaron
           7          and Dr' Peterson relating
                                                to her participation in Amprigen
                                                                                 crinical triar administered by
          8          Defendants' which agreement
                                                 included a term that Defendants
                                                                                 would refund Jane Doe for any
          9          unused Ampligen she had purchased.

      l0                     98'       on March 13' 2077,Dr. Peterson
                                                                      made      an oral offer that Defendants
                                                                                                              would
      ll            purchase a one-year supply
                                               of Ampligen for Jane Doe's
                                                                           excrusive use, consisting of
                                                                                                        20g bottres, in
     t2             exchange for $41'600' Jane
                                               Doe accepted the offer and, that
                                                                                same day, paid siena Internal
     l3             Medicine $41,600 for the 20g
                                                 bottles ofAmpligen.
     14                     99'     The next day, on March 74,20r7,Jane
                                                                              Doe mernorialized iri witing
                                                                                                             the material
     15              terms of the parties, agreement
                                                       in an ernail to Simmaron, the
                                                                                      company responsible for procuring
     l6              Ampligen from the manufacturer
                                                         on beharf of Defendants. specificalry,
                                                                                                  Jane Doe confirmed in
 17                 writing that Defendants would purchase
                                                                20g bottres of Amprigen, at aprice
                                                                                                     of $200 a bottle, for a
 l8                 total cost of $41,600; that this
                                                     order would be included in the
                                                                                      order that Simmaron was in
                                                                                                                     the
 t9                process of submitting
                                            to HEB; and that Jane Doe would
                                                                                be able to return any unused
                                                                                                               bottles, at her
 20                discretion, for a furl refund.
                                                   Jane Doe arso informed simmaron
                                                                                        that time was of the essence,
                                                                                                                        as
 21                she had run out of Ampligen
                                                   and her hearth had started
                                                                               to deteriorate. Simmaron acknowledged
22                 and did not dispute Jane Doe
                                                  's witten  memorialization of the agreement
                                                                                              with Defendants,
23                         100, On March lZ, 2017' at the instuuction
                                                                      of simmaron, Jane Doe executed
                                                                                                        an additional
24                written instrument with Simmaron          peterson
?{
                                                   and Dr.
               clinical trial administered by Defendants,
                                                                      relating to herparticipation in
                                                          which again confirmed that Defendants
                                                                                                      Ampligen

                                                                                                would refund
                                                                                                                                   I
26             Jane Doe for any unusEd investigationar
                                                        study medication. Exhibit B.
                                                                                      upon information and
27             belie{, the form was later countersigned
                                                        by simmaron and Dr. peterson.
28

                                                                      28
                     Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 35 of 47




                             l0r.  In reriance on Defendants, promise
                                                                       to provide a one_year suppry
                                                                                                     of Amprigen
              2      exclusively for her use' Jane
                                                   Doe incurred reasonable expenditures
                                                                                         in preparation for Defendants,
              J      performance of the agreement,
                                                    including by purchasing a non-refundable
                                                                                                      annual $2g,200
           4         membership to surf   Air' a private
                                                      membership airline, to facilitate
                                                                                        her traver to the Incline V'rage
           5        clinic for Ampligen infusion appointments.
           6                102'  Jane Doe and Defendants had
                                                                 valid oral and written agreements
                                                                                                     that Defendants
           7        would purchase' store' and provide
                                                        a on€-year supply of 20g
                                                                                   bottles ofAmpligen to Jane Doe
                                                                                                                      for
          8         her exclusive use and that
                                               they wourd refund Jane Doe for
                                                                                any amounts not used.
          9                103' Jane Doe duly performed or satisfied
                                                                        all terms, conditions, promises,
                                                                                                          and obligations
      10           required to be performed or
                                               satisfied by her in accordance
                                                                              with the parties, under these
      il           agreements.

     t2                    104' Defendants breached their agreements
                                                                     in 2020,202r,      and,2022 whenthey failed to
     l3            perform their obligations
                                             under the agreements by refunding
                                                                                Jane Doe for the approximatery
                                                                                                               200
     14            bottles of Ampligen that Jane
                                                 Doe did not use, denying her
                                                                              of the benefit of the bargain.
     l5                   105' Additionally'  Defendants fi'uther breached
                                                                           their agreement with Jane Doe
                                                                                                         by failing
     16           to store and maintain Jane Doe
                                                 's Ampligen bottles exclusively
                                                                                       for her use, Defendants purchased
 t7               at least 20 bottles and as many
                                                  as 208 bottles   ofAmpligen using
                                                                                  Jane Doe,s funds for her
 l8               exclusive use' of which she
                                              used only seven bottles. In
                                                                          February 2022, JaneDoe leamed
                                                                                                           that
 l9               Defendants are no longer storing
                                                   any bottles of Ampligen for
                                                                               her and,       thus, have improperly used
 20               or otherwise disposed of at least
                                                      l3 bottles and as many   as 201 bottles of   Ampligen that were
 2t               meanf for Jane Doe's excrusive
                                                 use and in violation of the parties,
                                                                                      agreements.
)',                      106' In addition to this financial harm,
                                                                  due to the extreme     and outrageous nafure
23
                                                                                                                  of
                Defendants ' conduct in breaching
                                                      their contactual obligations,
                                                                                      Defendants caused Jane Doe to
24              suffer severe ernotionar distress.
                                                    Due to Defendants, doctor-patient
                                                                                          and triar admini strator-pati ent
25             relationships with Jane Doe
                                              and their extensive knowredge
                                                                                of and experience with ME, they
                                                                                                                     were
26             aware of the extreme tolr that
                                                their actions and failure ofperformance
                                                                                            wourd have on Jane Doe.
27             Because Defendants' medicar practice
                                                          and research institute is built
                                                                                          around trying to improve the
28             understanding of ME as weil
                                               as the treaftnent and quality
                                                                              of rife ofpatients suffering from
                                                                                                                  ME,
                                                                    29
                      Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 36 of 47




                      they knew how serious and potentially
                                                            long-lasting the impact of this
                                                                                            ongoing distress wourd be to
              2       Jane Doe' Nevertheless,
                                              they engaged in this wrongful
                                                                             conduct,            knowing ofthe likely
              J       consequences of their actions.

           4                      r07   '    As a direct and consequential result
                                                                                  of Defendants, material breaches
                                                                                                                   of their
          5          contracts with Jane Doe, Jane
                                                   Doe has suffered and continues
                                                                                    to suffermonetary and emotionar
          6          damages in an amount to be proven
                                                        at trial but, at a minimum, in
                                                                                       the amount           of $6g,400.
          7                       108' WHEREFORE' Jane Doe prays
                                                                 forjudgrnent              against Defendants as set forth
                                                                                                                           berow.
          8

          9                                  (conversion Against Dr. peterson
                                                                              and sierra rnternar Medicine)
      l0                      109'          Jane Doe hereby incorporates
                                                                         by reference paragraphs    I through l0g   above as
     II             though fully set forth herein.

     l2                       I   l0'
                                 In the altemative, through fraud
                                                                   and false pretenses, Defendants
                                                                                                    Dr. peterson and
     t3            sie*a Internal Medicine took possession
                                                             of and wrongfully retained Jane
                                                                                               Doe,s money, to which
     t4            they were not entitled and had
                                                  no rightful claim, and concealed
                                                                                     this wrongful taking from her.
     15                    111' At all times relevant hereto, Jane
                                                                   Doe was and is the rightful owner
                                                                                                       entitled to return
     16            of the $40'200 in payments
                                               made to Defendants Dr. peterson
                                                                                  and sierra Internal
                                                                                                   Medicine.
 t7                           112' At
                                    the time Defendants Dr. Peterson
                                                                     and sierra Internal Medicine
                                                                                                  took wrongfirl
 18                possession of Jane Doe's
                                             money, they knew or should have
                                                                              known that the money belonged
                                                                                                              to
 t9                her.

 20                       I   l3'
                                Defendants Dr' Peterson and
                                                            siena Internal Medicine have not retumed
                                                                                                        any portion
 21               of the payments made by Jane
                                                Doe despite her requests, retaining
                                                                                    these funds without her consent
22                to her detriment.

23                        rl4'      Jane Doe was unaware, and
                                                              courd not have discovered
                                                                                        with reasonabre diligence,
24                that Defendants Dr. peterson
                                               and sierra Intemal Medicine
                                                                             had stolen her money under



                                                                                                                                    r
                                                                                                        false
25                pretenses because Defendants
                                                took affirmative steps to conceal
                                                                                  the scheme and maintain their
26            wrongful possession ofthe funds.
                                                 For instance, Defendants made
                                                                               multiple representations that
27            Defendants would and had purchased
                                                   Jane Doe,s one_year Ampligen
                                                                                  supply with her money
28            when, in fact, they had not. Both
                                                Simmaron and Sierra Internal
                                                                             Medicine were well aware of
                                                                           30
                      Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 37 of 47




               I      these facts but concealed them
                                                      from Jane Doe; they also misrepresented
                                                                                               to Jane Doe that her
              2       money was being held in
                                                a separate escrow account
                                                                          specificaily designated for
                                                                                                      Ampligen.
              3        Furthermore' Dr' Peterson represented
                                                                to Jane Doe that she still had
                                                                                               her,.slot,, in the trial and her
           4           "alottment" [sic] of Ampligen (either
                                                              falsely because he had arready
                                                                                               evicted her from the triar or
           5          in an eflort to detet her from pursuing
                                                               a refund). He arso   farsery represented to Jane
                                                                                                                Doe that he,
           6          his   stafi or his bookkeeper or cPA were
                                                                assisting Jane Doe in obtaining
                                                                                                a refirnd, knowing or
           7          with reason to know that his representations
                                                                   were false.
          8                   1 l5- upon discovering
                                                      that Defendants Dr. Peterson
                                                                                   and sierra Intemal Medicine
                                                                                                               did not
          9          intend to return her funds in
                                                   2022,JaneDoe demanded that they do
                                                                                        so, or she wourd resort to legar
      l0             rernedies' Despite Jane Doe's
                                                   repeated demands that the
                                                                             funds be refurned promptry,
      ll             Dr' Peterson and sierra Internal
                                                      Medicine have refused to return
                                                                                                                   Defendants

                                                                                        her property, to her detriment.
     12                      I l6' By intentionally and
                                                        substantially interfering with
                                                                                       Jane Doe,s right to possession
     l3             the money that she rightfully
                                                                                                                        of
                                                   owns' Defendants Dr. peterson
                                                                                      and sierra Intemar Medicine
                                                                                                                  have
     14             wrongfully converted the funds
                                                   belonging to her.
     l5                          117' As a direct and proximate
                                                             result of the conduct of Defendants
                                                                                                 Dr. peterson and
     t6            sierra Internal Medicine' Jane
                                                   Doe has been denied use of
                                                                                her money and has been damaged
     l7                                                                                                           in an
                   amount to be proven at fiial,
                                                 but that exceeds $40,200.
 t8                          I   l8'
                                 The acts ofDefendants Dr.
                                                            Peterson and sie*a Internal
                                                                                         Medicine alleged herein
 l9                were wilrful, wanton, maricious
                                                   and oppressive and, therefore, justis
                                                                                         awarding exemprary and
 20                punitive damages.

 2I                          119' WHEREFORE'         Jane Doe prays for judgment
                                                                                 against Defendants Dr. peterson
                                                                                                                 and
 22                Sierra Internal Medicine as set
                                                   forth below
23

24                               (civ'penarties for Receipt of
                                                               storen propery under penar
                                           Against Dr. peterson                           code          g a96(c)
25                                                                and Sierra Intenral Medicine)

26                          120'    Jane Doe hereby incorporates
                                                                 by reference paragraphs    I through I 19 above, as
27             though fully set fortlr herein.

28

                                                                     3l
                     Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 38 of 47




              I                   l2l'
                                  As set forth above, Defendants
                                                                 Dr. Peterson and Siena Internal
                                                                                                 Medicine have
              2      wrongfully obtained possession
                                                    of Jane Doe's money through
                                                                                               conduct that constitutes fraud,
                                                                                                                               theft
          3          and/or conversion under penal
                                                   Code sectio           n 496.
          4                       1'22' Penal code    sectio   n 496(c)provides that "[aJny   person who has been injured
                                                                                                                          by   a
          5          violation of subdivision (a)
                                                  "' may bring an action for thrree times the amount of actuar damages,
          6         if any, sustained by the plaintiff, costs
                                                               of suit, and reasonable atforney,s
                                                                                                   fees.,, Subdivision (a)
          7         provides for crirninal punishment
                                                         for "[e]very person who buys or
                                                                                            receives any property that has
          8        been stolen or that has been
                                                 obtained in any mamer constituting
                                                                                          theft or extortion, knowing the
          9        properly to be so stolen or
                                                obtained, or who conceals, sells,
                                                                                    withholds, or aids in concealing,
     10            selling or withholding any property
                                                           from the owner, knowing the property
                                                                                                     to be so stolen or
     1l            obtained[.],'

     t2                      123' At all relevant times,
                                                     Defendants knew that the funds
                                                                                      at issue belonged to Jane Doe
     l3            and were wrongfully obtained
                                                through conduct that constitutes
                                                                                 fraud and/or theft.
     14                      124' Furthermore' in January of 2022,while
                                                                                  Defendants were in wrongful possession
     t5
                                                                                                                               of
                   Jane Doe's property, Jane
                                             Doe demanded that Defendants
                                                                          refurn her        funds, Defendants refused
 t6                and   still refuse to deliver, and have not
                                                               delivered, possession ofthe property,
                                                                                                     or any part thereof,
 17               to Jane Doe.

 18                         125' As a result of this conduct,        Jane Doe has been denied use
                                                                                                  of her property and has
 l9               been damaged        in an amount to be proven at triar,
                                                                          but that exceeds $40,200.
 20                         126' Pursuant to Penal code sectio n
                                                                 496(e),Jane Doe is entitred to
                                                                                                recover three tirnes
2t                the amount of her acfual damages
                                                     and an award of reasonable costs
                                                                                      and attomeys, fees incurred in
22                bringing this action.

23                         127' WHEREFORE' Jane Doe prays forjudgment
                                                                                      against Defendants as set forth
                                                                                                                      below.
24
                                                          FIFTH CAUSE OF'ACTION
25
                                            @estitution/euasi-Contract or Unjust Enrichment
26                                          Against Dr. peterson and Sierra lnie"oul
                                                                                     Medicine)
27                        128'     Jane Doe hereby incorporates
                                                                byreferenceparagraphs            I through lz7   above,as
28            though      ftlly   set forth herein.

                                                                          32
                     Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 39 of 47




              I               129' In the altemative,  Defendants Dr. Peterson and
                                                                                    sierra Internal Medicine were
              2       unjustly enriched when they
                                                   received and wrongfully took possession
           a
                                                                                             of Jane Doe,s funds.
           J                  130' At all relevant times, Defendants
                                                                     Dr. Peterson and siena lntEmal
                                                                                                      Medicine knew
           4         that the funds belonged to
                                                Jane Doe and that they were
                                                                             not authorized to keep the money
                                                                                                               wi'rout
          5          Jane Doe's consent or knowledge.

          6                 13l   '   Jane Doe was unaware, and
                                                                could not have discovered with
                                                                                               reasonable diligence,
          7         that Defendants Dr' Peterson
                                                  and sierra Intemal Medicine had
                                                                                     retained her money under false
          8         pretenses because Defendants
                                                   took affirmative steps to conceal
                                                                                      the scheme and maintain their
       9            wrongful possession of the funds'
                                                       For instance, Dr. Peterson made
                                                                                          multiple representations that
      10            Defendants would and had purchased
                                                          Jane Doe's one-year Ampligen
                                                                                            supply with her money
     II             when' in fact' they had not'
                                                 Both simmaron and       sierra Internal Medicine were
                                                                                                       well aware of
     t2            these facts but concealed them
                                                  from Jane Doe; they also misrepresented
                                                                                          to Jane Doe that her
     l3            money was being held in a separate
                                                      escrow account specifically
                                                                                  designated for Ampligen.
     14            Furthermore' Dr' Peterson represented
                                                            to Jane Doe that she still had her..slof,
                                                                                                      in the trial and her
     15           "alottment" [sic] ofAmpligen (either
  16              in an effort to deter her from pursuing
                                                          falsely because he had already
                                                                                           evicted her from the triar or     I
                                                           a refund). He also falsely represented
                                                                                                    to Jane Doe that he,
 t7               his staff' or his bookkeeper or
                                                  cPA were assisting Jane Doe in obtaining
                                                                                               a refund, knowing or
 l8               with reason to know that his representations
                                                                 were false.
 l9                       132' As a direct    result of Defendants' conduct,
                                                                             Defendants Dr. peterson and
                                                                                                         siena
 20               Internal Medicine have been unjustly
                                                         enriched and must restore Jane
                                                                                           Doe,s property ($40,200) to
 2t               her or pay restitution in an amount
                                                      to be proven at triar, but that exceeds
                                                                                               $40,200.
22                       133' WHEREFORE' Jane Doe prays forjudgment
                                                                                 against Defendants Dr. peterson
                                                                                                                 and
23                Sierra Internal Medicine as
                                              set forth below.
24
                                                      SIXTH CAUSE OF ACTION
25                              (Intentionar Infliction of Emotionar
                                                                     Distress Against A[ Defendants)
26                       134'   Jane Doe hereby incorporates
                                                             by reference pruagraphs      I through   133 above, as
27             though flrlly set forth herein.

28

                                                                    33
                 Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 40 of 47




                          135' Defendants' conduct caused Jane Doe
                                                                   to suffer severe     emotional distress because,
          2      among other things' Defendants
                                                  engaged in a pattern of conduct
                                                                                   that kept Jane Doe in a perpetual
          3      state of fear of being removed
                                                or ejected from the Ampligen trial
                                                                                    and losing the oppornurity for a
          4      semi-normal fuh[e where she could
                                                      manage her ME symptoms. Defendants
                                                                                                conduct constitutes a
          5      continuing wrong that compounded
                                                       and eventually caused Jane Doe,s
                                                                                            emotional disftess to
          6     become severe when she discovered
                                                       in March 2022 thatDefendants had
                                                                                              stolen her money by
      7         secretly ejecting her from the hial,
                                                     either in retaliation against her for
                                                                                           requesting a refund or by
      8         attempting to deter her from availing
                                                        herself of legal avenues in pursuit
                                                                                             of the refund she was
      9         entitled to

     10                 136'  Each of the Defendants had a special
                                                                    relationship with Jane Doe given
                                                                                                     the nature        of
     lt         the medical care provided and
                                              the fact that she was a participant in
                                                                                    a clinical trial study of an
     12         investigational medicine. Jane Doe
                                                    was a patient of both Dr. peterson
                                                                                        and siena Intemal
     t3        Medicine and was part of the clinical
                                                     trial run by simmaron with Dr. peterson
                                                                                                 as the principar
 l4            investigator' These relationships and
                                                     Defendants' special knowledge of
                                                                                          ME make Defendants,
 15            conduct all the more outrageous,

 t6                    137'   Defendants were aware ofthe symptoms
                                                                         ofME, which include    post Exertional
 t7            Neuro'Immune Exhaustion or PENE (a
                                                       worsening of ME symptoms after minimal
                                                                                                   physical,
 l8            mental, or emotionar exertion, recovery
                                                       from which can take days, weeks, months,
                                                                                                  or be
 l9            altogether impossible) and adrenaline
                                                     surges that result when ME patients,
                                                                                           on occasion, have no
20            choice but to overexert themselves (physically,
                                                               cognitively, or emotionally), temporarily
                                                                                                         pushing
2t            themselves beyond their safe limits,
                                                   resulting in PENE.
22                    138' Defendants nonetheless engaged in
                                                               an ongoing pattern of extreme and
                                                                                                  outrageous
23            conducl subjecting Jane Doe to emotional
                                                       distress for their own benefit and at
                                                                                             Jane Doe,s
24            expense' In addition to the conduct
                                                   described above, Defendants engaged
                                                                                            in additional extreme
25            and outrageous conduct as part of
                                                 their continuing wrong, all of which
                                                                                        was done with reckless
26            disregard of the probability' or worse'
                                                      the intent that Jane Doe would suffer
                                                                                             not only physical
27            harm but also emotional distress. Examples
                                                             of such additional conduct are described
                                                                                                       below
28

                                                                34
                      Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 41 of 47




              I               139' sierra Intemal Medicine       and simmaron employed incompetent
                                                                                                   or inadequate          stafl
          2            including an infi'rsion nurse who improperly
                                                                       administered infusions, causing Jane
                                                                                                               Doe to undergo
          J           unnecessarily painful' distressing
                                                          and harmf'l infusions of Ampligen.
          4           November 2013'the nurse improperly
                                                                infused Jane Doe with Ampligen,
                                                                                                   For instance, in or around
                                                                                                                                    I
                                                                                                     resulting in an infilfration
          5           with an entire bottle of Ampligen. This
                                                                  incident resulted in severe pain and
                                                                                                        loss of the use of her
          6           arm for about two weeks' when
                                                         Jane Doe and her husband raised
                                                                                             the issue with Dr. petersorr and
          7          Sierra Intemal Medicine, they were
                                                            met with indifference. Jane Doe did
                                                                                                    not feel safe receiving
      8              treatment from that nurse but had no
                                                             recourse due to her fear that fi.rther
                                                                                                    complaints could result
      9             in her ejection from the clinical trial.
                                                              The nurse remained employed by siena
                                                                                                          Intemal Medicine
     l0             for years, forcing Jane Doe to miss
                                                           infusions.
     11                     140' Throughout      the period during which Jane Doe
                                                                                  was a patient of theirs, Dr, peterson
     t2             and sierra Intemal Medicine routinely
                                                          engaged in improper billing practices,
                                                                                                 including double
     l3             billing' For instance' on several occasions, Dr. Peterson
                                                                                 and siena lnternal Medicine sent
                                                                                                                     bills to
 l4                  Jane Doe more than 18 months
                                                     after services were rendered. Additionally,
                                                                                                    they sent bills that
 l5                 failed to properly account for Jane
                                                         Doe's prior payments and her insurance
                                                                                                    company,s payments.
 t6                 on numerous occasions, Dr' Peterson
                                                            and sierra Internal Medicine did not
                                                                                                    bill Jane Doe,s medical
 t7                 insurance nor provide her with proper
                                                            invoices required for her to obtain reimbursement
                                                                                                                  from her
 l8                insurance company. These inaccurate
                                                            billing practices made it difficult for Jane
                                                                                                          Doe to confirm
 l9                that Defendants' charges were legitimate,
                                                                particularly given her cognitive
                                                                                                  and physical limitations,
20                 and caused Jane Doe financial stress.
                                                         Although Jane Doe raised these issues
                                                                                               on nurnerous
2t                 occasions' Dr' Peterson and siena Intemal
                                                              Medicine were unrcsponsive to her ongoing
                                                                                                            concems.
22                Jane Doe did not report or otherwise
                                                        take any action against Defendants
                                                                                           out of fear of retaliation
23                in the form of being ejected from the
                                                        Ampligen clinical hial and, thus, unable
                                                                                                 to receive further
24                Ampligen treatment.

25                        141' rn20l9' sierra Internal Medicine       became a concierge practice. Dr. peterson
26                represented to Jane Doe that, in
                                                   order to continue seeing him, she
                                                                                     would have to join MDVIp, a
27                company that operates a network of
                                                       so-cafled concierge physicians, and pay
                                                                                               ayeuryfee of
28                $1'800' Relying on this representation,    Jane Doe agreed to   join MDVIp     so that she wourd not be
                                                                      35
                 Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 42 of 47




            I    ejected from the Ampligen clinical
                                                      trial. In     or 2021, shelearned that Dr. peterson,s
                                                                  2020
        2        representation was false and that
                                                   he could and did continue seeing
                                                                                     non-MDVIp patients, During
        3        her enrolknent in MDVIP, Jane
                                                 Doe had less access to Dr. peterson
                                                                                       than before despite his
        4        contractual promise that appoinhnents
                                                        would be available the same or next
                                                                                              day. In fact,in2'zl,
        5       Jane Doe essentially lost access
                                                 to Dr. Peterson altogether as she
                                                                                   was unable to schedule an
        6       appointment with him for months
                                                   and never received lab orders
                                                                                  that he promised to send to her in
        7       october 2021 despi0e several follow'ups.
                                                           Given Dr. peterson's rack of response,
                                                                                                   she eventuary
    8           gave up.

    9                   r42'   Between February 2012 andaround
                                                                      February 2015, Dr. peterson and
                                                                                                        siena lntemal
   l0           Medicine represented to Jane Doe
                                                     that, under the trial protocol, she was
                                                                                             requiredto complete two
   ll           exercise tolerance tests, t'e', cPETs,
                                                       a year in order to remain in the
                                                                                         Ampligen study. However,
  t2            these tests wefe not required an4
                                                  in fact, were optional. As discussed
                                                                                       above, cpETs are
  l3      extremely detrimental for ME patients
                                                    and can cause severe post-exertional
                                                                                            symptoms and side
    14    effects in ME patients' Based on
                                             Defendants' representations, Jane Doe
                                                                                        agreed to undergo the
   l5     exercise tolerance tests, which aggravated
                                                        her ME and caused her severe physical
                                                                                                  and emotional
   t6     suffering' For instance, she experienced
                                                      difficulty walking, was unable to speak
                                                                                                 above a whisper,
   17     slured her words' suffered severe insomnia,
                                                           experienced pain in her lymph nodes,
                                                                                                   sore throars,
  l8     severe cognitive difficulties, weakness,
                                                    muscle pain, histamine reactions,
                                                                                         GI issues, inability to
  l9     focus her eyes' and other symptoms.
                                                 Had she known that the tests were
                                                                                       optional, Jane Doe would
 20      not have agreed to them' Jane Doe
                                               only later discovered that the tests
                                                                                    were optional after having
 2t     undergone years of exercise tolerance
                                                  tests based on the representations
                                                                                      of Dr. peterson and siena
 22     lntemal Medisine that the tests were
                                                mandatory for her participation in
                                                                                     the Ampligen shrdy.
 23     Although she was shocked and incredulous
                                                        having been deceived into subjecting
                                                                                                herself to hann
 24     by Dr' Peterson and sierra Internal
                                              Med.ioine, Jane Doe did not report
                                                                                   or otherwise take any action
25      against Dr' Peterson or sierra Internal
                                                 Medicine out of fear of retaliation in
                                                                                         the form of being
26     ejected from the Ampligen clinical
                                             trial and, thus, unable to receive further
                                                                                         Ampligen teatment.
27     upon information and belie{ Dr. Peterson
                                                      has used Jane Doe's test results
                                                                                        to further his onm
28     research and that of Sierra Internal
                                            Medicine for his personal benefit and
                                                                                      to Jane Doe,s dehiment.
                                                                  36
                    Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 43 of 47




                            143' In addition, siena Internal Medicine
                                                                      also failed  to follow other protocol
              2     requirements in a timely manner,
                                                       such as providing Jane Doe with
                                                                                         lab orders and questionnaires,
              3     and notifring her of deadlines
                                                   for Ampligen physicals, EKGs,
                                                                                   and exercise torerance tests.
                                                                                                                    As a
          4        result' Jane Doe could not rely
                                                   on sierra Intemal Medicine to
                                                                                  futfill its responsibilities and was
          5        forced keep track of her own
                                                 hial requirements and Amprigen
                                                                                   orders, Ieaving her physicary
                                                                                                                    and
          6        mentally exhausted' Having to
                                                     remain vigilant was physically
                                                                                    and mentaly exhausting, and
                                                                                                                Jane
          7        Doe's health suffered as a result
                                                      of this exertion,
          8                144' As a direct result of Defendants'
                                                                       conduct described herein, starting
                                                                                                            in20l7,Iane
          9       Doe began suffering from refractory
                                                       over-activation ofthe sympathetic
                                                                                         neryous system, which she
     l0           has not been able to manage
                                              despite regular and ongoing use
                                                                               ofnumerous therapeutic          skategies.
     ll            specifically' Defendants' outrageous
                                                          conduct has caused a severe
                                                                                       and ongoing impact to Jane
     t2           Doe's emotional state and physical
                                                       health via overstimulation of
                                                                                     the HpA axis. Jane Doe is unable
     l3           to return to a state of homeostasis
                                                      that properly balances the parasympathetic and sympathetic
     t4           nervous systems, putting her in perpefual
                                                            fight-or-flight mode that renders
                                                                                              restful recovery even
     l5           less possible.

 16                      145. rn20r7,     Defendants atternpted to charge
                                                                              Jane Doe $220 in inflrsion
                                                                                                           costs, an amount
 t7               vastly exceeding the Medicare
                                                   reimbursement rate. Dr. peterson
                                                                                        and sie'a Internal Medicine
 t8              were participating Medicare providers
                                                            and, at ail times, aware that
                                                                                          Jane Doe was a Medicare
 19              patient. This attempt to charge
                                                   Jane Doe in excess of the Medicare
                                                                                           reimbursement rate constifutes
 20              illegal "balance billing"' Jane Doe
                                                        should have been abre to rely
                                                                                        on Defendants,representations
2t               due to their position as hearthcare
                                                      providers and crinicar-hiar
                                                                                   administrators that they were billing
22              her within the confines of the law. yet
                                                            they abused this position, either
                                                                                               intentionally or through
23              their recklessness' and atfempted
                                                     to commit ilegar balance bilring
                                                                                        to extract more money from
24             Jane Doe exproiting her desperation
                                                        and eagerness to obtain more
                                                                                        Ampligen and resume her
25             infusions' Jane Doe did not report
                                                      or otherwise take any action against
                                                                                              Defendants out of fear of
26            retaliation in the form of being ejected
                                                          from the Ampligen clinical trial
                                                                                              and, thus, being unable to
27            receive fi,rther Ampligen treahnent.
                                                        Instead, Jane Doe,s took efforts
                                                                                           to stop this impropriety
28            privately with Defendants and
                                                was eventually zuccessful. However,
                                                                                          this effort required additional
                                                                  37
                  Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 44 of 47




                  mental and emotional exertion on
                                                   her part and caused her fear that
                                                                                     Defendants would retraliate by
          2       withdrawing her from the study.

          3                  146' Dr'  Peterson secretly ejected Jane
                                                                      Doe from the Ampligen study
                                                                                                      without her consent
          4       either in retaliation for her request
                                                        for a refund or in an effort to conceal
                                                                                                from her the fact that
          5       Defendants' obligation to refund
                                                      her had been triggered. Dr. peterson
                                                                                             removed Jane Doe from the
          6      study in violation of the study protocol
                                                             and without notifting her of the
                                                                                              removal, He further failed
          7      to repay the money she had given
                                                       him for the express purpose of obtaining
                                                                                                   Ampligen.
                                                                                                       upon
          8      learning of her removal from the
                                                  hial, Jane Doe experienced considerable
                                                                                          further emotional
      9          distress.

     l0                  147   '
                               Dr' Peterson treated Jane Doe for over
                                                                        nine years, having a significant role
                                                                                                              in her
     11         life and that of her family during that
                                                        period as her primary   care physician and sole source   of
     l2         Ampligen' which had been a life-changing
                                                          medication for Jane Doe. His betrayal
                                                                                                 and unlaudrl
     l3         taking and retention of Jane Doe's
                                                   money has been a source of severe
                                                                                     emotional, mentar and
     t4         physical anguish for Jane Doe.

     l5                 148'Instead of being able to put the Ampligen
                                                                        chapter of her life behind her and
                                                                                                           to try to
 l6            find other medical support, Jane Doe's
                                                      trust regarding treatment for ME
                                                                                          has been so damaged         that
 t7            she has been unable to pursue
                                             any expert care since 2017 when
                                                                             her access to Ampligen ended
 l8            despite the fact that she lives in
                                                  the Bay   Are4 where such expert care exists unlike
                                                                                                      in most parts of
 19            the country

 20                     149' Defendants conduct described above
                                                                    was exheme and outrageous and
                                                                                                     done
2t            intentionally or with reckless disregard
                                                       for the probability of causing Jane Doe
                                                                                                emotional distress
22            including feelings of despair, anguish,
                                                      fear, and distress, As a direct and proximate
                                                                                                    result of
23            Defendantso conduct, Jane Doe
                                               has suffered years ofphysical and
                                                                                   mental anguish and distress,
24            which has become severe when she discovered
                                                               that Defendants had stolen her money
                                                                                                      and ejected
25            her from the clinical tial,

26                    150' As a result of Defendants' conduct, Jane
                                                                    Doe       has been harmed in an amount to
                                                                                                              be
27            proven at trial,

28                    l5l.     WHEREFORE, Jane Doe prays for judgrnent
                                                                       against Defendants as set forth below.
                                                                  38
                 Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 45 of 47




          2                               (Violation Of Cat. Health & Saf.
                                                                           Code gt23t l0 et seq.
                                           Against Dr. peterson and Sierra
          J                                                                Internal Medicine)
          4                152'    Jane Doe hereby incorporates by
                                                                   reference paragraphs 1 through
                                                                                                         l5l   above, as
          5      though   fully   set forth herein.

          6               153' Defendant Dr'       Peterson is, and was at all times
                                                                                     mentioned herein, a physician
          7     licensed by the Medical Board
                                              of California.
      8                   154' Between February 2021 and,February
                                                                  2022, JaneDoe made at least six written
      9        requests and numerous oral requests
                                                    for copies of Jane Doe's medical records
                                                                                             from Dr. peterson
     l0        and sierra Internal Medicine' For
                                                 instance, Jane Doe rnade written
                                                                                  requests for her records on
     ll        May 1' 2021, June 7,2021,January 7,2022,and
                                                                February 4,2022.In response, Defendants
                                                                                                            either
     t2        ignored her requests or promised
                                                her records wourd be forthcoming.
     t3                   155' Most recently, on March 7,2022,a
                                                                  "special-projects,, contractor for Sierra Internal
     14        Medicine called Jane Doe's husband
                                                    claiming that siena Intemal Medicine
                                                                                              will provide Jane
 l5            Doe's medical record, but that it
                                                 would take three weeks. Defendants
                                                                                        Dr. peterson and sierra
 16            Intemal Medicine did not follow through
                                                         on that promise, either.
 t7                   156' To date'      and rnore than a year after her   initial request, Defendants Dr. peterson
                                                                                                                      and
 l8           siera Internal Medicine did not provide
                                                             Jane Doe   with her medical records in response to
                                                                                                                any of
 t9           these requests' and have not provided
                                                    Jane Doe        with her medical records despite these numerous
 20           requests.

2t                    157   '   Jane Doe is   willing and able to pay reasonable costs
                                                                                       associated with   ttre collection   of
22            documents, to the extent allowed
                                               by Hearth and safety code section
                                                                                 123 r 10.
23                   158' WHEREFORE,              Jane Doe prays for judgment against
                                                                                      Dr. peterson and Defendant
24            Sierra Internal Medicine as set forth
                                                    below.
25                                                     PRAYER FOR RELIET'
26                   WHEREFORE, Jane Doe prays for
                                                   relief as follows:
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                   Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 46 of 47




              I              l   '
                                 For all compensatory damages,
                                                                 general and/or special, directly
                                                                                                  and proximately
              2    rezulting from the Defendants'
                                                  wrongfiJ acts, in an amount to
                                                                                 be estabrished according to proofat
           3       trial;
          4                  2'   For an award of exemplary andlorpunitive
                                                                           damages in an amount sufficient
                                                                                                           to
          5        punish, deter, and make
                                           an example of Defendants;
          6                  3'For an award of enhanced damages,
                                                                   including an award of treble darnages
                                                                                                         as
          7       provided under penar code
                                            sectio n 4g6,and for punitive
                                                                          and exemprary damages;
          8              4'     For an order requiring Defendant
                                                                 Dr. Peterson and siena Intemal
                                                                                                Medicine to
          9       provide to Jane Doe copies of
                                                her medical records.
      l0                 5.          For an award of attorneys' fees
                                                                      and costs of suit herein incurred;
     ll                  6'          For an award to Jane Doe of pre-judgment
                                                                                 interest at the regar rate; and
     t2                  7'          For any further rerief as the court
                                                                         deems just and proper.
     l3

     t4           Dated: April28,2022
                                                                           BAKER & McKENZIELLP
     15                                                                    Barry J. Thompson
                                                                           Christina M. Wons
  t6                                                                       Peter W. Shapiro

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 l8                                                                        By:
                                                                                           M. Wong
 t9                                                                              Attorney for Plaintiff
                                                                                 JANE DOE
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                  Case 3:22-cv-03178-VC Document 1-1 Filed 05/31/22 Page 47 of 47




              I
                                                  DEMAND T9R JURY TRTAL
              2
                       PlaintiffJane Doe hereby requests
                                                         a hial by jury in this matter
              3

          4
                  Dated: Apr:il2g,2022
          5                                                      BAKER & McKENZTELLR
                                                                 Barry J. Thompson
          6                                                      Christina M. Wons
                                                                 Peter W. Shapiro
          7

          8
                                                                 Byt
          9                                                                      M. Wong
                                                                       Attorney for Plaintiff
     l0                                                                JANE DOE

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     l4
     l5
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